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           the price paid to fishermen at the dock) was $2 billion, and first wholesale value was approximately
           $4.7 billion.
           Salmon accounts for the majority of the value of Alaska seafood, while pollock represents the
           majority of the volume harvested.
           The U.S. is the largest single market for Alaska seafood, followed by China, Japan, Europe, South
           Korea, and Canada.
           Seafood has been and remains Alaska’s top export, comprising over half of Alaska’s annual export
           value. The export value over the past decade has averaged $3.3 billion annually. Alaska’s top exports
           are pollock, surimi, and fillets – a combined $845 million – and frozen sockeye salmon ($313
           million).
           Alaska’s seafood industry has been disproportionately impacted by the ongoing trade war with
           China. Exports to China, which in 2018 accounted for 32 percent of Alaska’s seafood sales and 23
           percent of the value, dropped 20 percent due to the ongoing trade war.
           Alaska seafood maintains the #1 ranking as the most commonly named protein brand called out on
           restaurant menus, followed by Angus beef.
           The seafood industry provides an important “backhaul” for shippers that otherwise primarily bring
           goods and supplies north to Alaska. One major shipping company has estimated freight rates to
           Alaska would be 10 percent higher without the backhaul of seafood shipped out of Alaska. The
           majority of Alaskans are impacted by this important benefit.
           Alaska’s state fish, the king salmon, or Chinook, can weigh up to 100 pounds.
           Alaska s tidal shoreline (at low tide) is estimated to be 47,300 miles.

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                     Alaska Seafood Marketing Institute
                     McDowell Group
                     http://www.adfg.state.ak.us/
                     http://www.labor.state.ak.us/
                     http://dnr.alaska.gov/mlw/water/hydro/components/water-facts.cfm
                     http://www.ufafish.org/fishing-facts/
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       FEATURE STORY


       Introducing the New Pacific Cod Trawl Cooperative Program
       Alaska




       FEATURE STORY


       NOAA Fisheries Releases National Seafood Strategy
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       FEATURE STORY


       Help Stop Illegal Shootings of Sea Lions and Seals Near the Copper
       River Delta
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       FEATURE STORY


       Humpback Calf Disentangled Near Juneau
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       Scientists Identify More Efficient Means to Determine the Age of Fish
       Using AI and Near-Infrared Technology
       Alaska

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       Bering Sea and Aleutian Islands Crab Rationalization Cost Recovery Program and Fee Percentages
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       FISHERIES
       Limited Access for the Western Gulf of Alaska and Bering Sea and Aleutian Islands Trawl Groundfish
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       PROTECTED RESOURCES
       Alaska Department of Transportation and Public Facilities Hydaburg Seaplane Base Refurbishment
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       More Fisheries Notices & Rules 
       More Protected Resources Regs & Actions 


       Upcoming Events

       Summertime Hours at NOAA’s Ted Stevens Marine Research Institute
       Jun 1, 2023 - Aug 31, 2023
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       2023 Belugas Count!
       Sep 23, 2023
       Alaska


       More Events 



       Bulletins

       IB 23-37: NMFS Prohibits Retention of “Other Rockfish” in the Aleutian Islands Subarea of the Bering
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       IB 23-26: NMFS Prohibits Directed Fishing for Pacific Cod by Vessels using Jig Gear in the Western
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       IB 23-25: NMFS Prohibits Retention of Pacific Cod by Catcher/Processors Using Trawl Gear in the
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       IB 23-33: NMFS Prohibits Retention of Longnose Skates in the Eastern Regulatory Area of the Gulf of
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       More Bulletins 



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       Saltonstall-Kennedy Grant Competition
       Alaska , New England/Mid-Atlantic , Pacific Islands , Southeast , West Coast , National


       Restoring Tribal Priority Fish Passage through Barrier Removal Grants
       National


       Restoring Fish Passage through Barrier Removal Grants
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       FY 2021–2023: Broad Agency Announcement
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       Species Recovery Grants to States
       Alaska , New England/Mid-Atlantic , Pacific Islands , Southeast , West Coast , National


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       Featured Highlights




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       Public Benefits of Recovering Endangered Beluga Whale Outweigh
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       Alaska



   Alaska Fisheries Science Center
   Our high quality research supports sustainable management and conservation of Alaska marine
   species with economic and cultural benefits for the nation. Alaska waters support some of the most
   important commercial fisheries in the world. Large and diverse populations of whales, seals, sea lions,
   and porpoises and Alaska native hunting and fishing communities also share these waters.

   We study the health and size of marine animal populations. We also study the key areas where these
   animals feed, breed, and grow. To study ocean habitats, we monitor environmental conditions
   important to sustain marine life. For instance, we regularly monitor sea surface temperatures in the
   Bering Sea, Aleutian Islands and Gulf of Alaska. We analyze biological, oceanographic and ecological
   data collected during research surveys and by trained fisheries observers in our laboratories. From
   this, we learn more about marine animal diets, age, growth and reproduction, food web dynamics and
   the role of humans in marine ecosystems. We use this and other information to monitor changes to
   marine animal populations and Alaska ecosystems over time.



   Sustainable Fisheries
   The Alaska Regional Office works with the Alaska Fisheries Science Center and the North Pacific
   Fishery Management Council to manage Alaska’s sustainable fisheries. Using the best available
   science, we work through the Council process authorized under the Magnuson-Stevens Fishery
   Conservation and Management Act to develop measures for best management of Alaska’s fisheries,
   considering a range of factors such as the health of the fish stocks and economic impact of fishery
   practices. Once fishing levels and regulations are adopted and approved, the Alaska Regional Office
   works to implement the Council decisions. The goal is to allow fishermen to harvest the optimum
   amount of fish while leaving enough in the ocean to reproduce and provide future fishing opportunities
   in perpetuity.



   Protected Marine Life
   The Protected Resources Division works to conserve and recover marine mammals in close
   coordination with the State of Alaska and other partners. To manage protected marine species, as
   required under the Marine Mammal Protection Act, Endangered Species Act, and Fur Seal Act, the
   Alaska Region advances recovery of threatened and endangered species and the conservation of
   marine mammals, including whales, seals, and sea lions. We work to minimize interactions between
   marine mammals and commercial fisheries; promote responsible marine mammal viewing practices;
   coordinate response to stranded or entangled marine mammals; consult with federal agencies to
   minimize project effects on threatened and endangered species; and cooperatively manage


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   subsistence use of marine mammals through co-management agreements with Alaska Native
   organizations.


   Habitat Conservation
   NOAA Fisheries conducts and reviews environmental analyses for a large variety of activities ranging
   from commercial fishing, to coastal development, to large transportation and energy projects. Working
   with industries, stakeholder groups, government agencies, and private citizens, we ensure that these
   activities have minimal impact on essential fish habitat and marine life in Alaska. Our habitat
   conservation activities include protecting essential fish habitat, mitigating damage to and enhancing
   habitat affected by hydropower project construction and operations, removing invasive species, and
   restoring habitat that has been affected by development, oil spills, and other human activities. We
   focus on habitats used by federally-managed fish species located offshore, nearshore, in estuaries,
   and in freshwater areas important to migratory salmon.



Featured Species
Alaska's coastal communities depend on healthy marine resources to support commercial and recreational
fisheries, tourism, and the Alaskan way of life. Our mission at NOAA Fisheries Alaska Regional Office is
the science-based stewardship of Alaska’s marine resources and their habitats in the Gulf of Alaska,
eastern Bering Sea, and Arctic oceans. We are responsible for supporting sustainable fisheries, recovering
and conserving protected species, such as whales and seals, and promoting healthy ecosystems and
resilient Alaska coastal communities.




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                                                                 Ecosystem-based Management

                                                                 Each season, scientists determine the optimal harvest
                                                                 levels for the health of individual species and the entire
                                                                 ecosystem. Fisheries managers in Alaska are on the
                                                                 forefront of implementing adaptive management tools
                                                                 in response to climate driven ecosystem change. This
                                                                 precautionary and adaptive approach is a cornerstone of
                                                                 sustainable fisheries management and allows the
                                                                 ecosystem and seafood species to continue to replenish
                                                                 year after year.


   In Alaska, it's the law

   Sustainable fishing has been the law since 1959 when
   Alaska became the only state with sustainability written
   into its constitution. Article VIII institutes the practice
   of “Sustained Yield.”

   “Fish, forests, wildlife, grasslands, and all other
   replenishable resources belonging to the State shall be
   utilized, developed, and maintained on the sustained
   yield principle, subject to preferences among beneficial
   uses.” – Article VIII, Alaska State Constitution


                                                                 Regulation and Enforcement

                                                                 Regulations, surveys and scientific data are ways that
                                                                 the State of Alaska enforces the legal mandate set forth
                                                                 at statehood.

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   Scientific Data
                                                             Every aspect of fishing in Alaska is based on the
                                                             latest scientific data
                                                             This data is tracked and managed by a joint effort among
                                                             state, federal and international bodies. View their sites
                                                             below, or learn more from the ASMI sustainability white
                                                             paper.

                                                                      Read the white paper




   Allowable Catch

                                                             Alaska sets harvests to prioritize the stability of
                                                             the marine ecosystems.
                                                             Managers conduct annual test fisheries or ‘surveys’ and
                                                             use the data to determine the “total available” population,
                                                             identify the “allowable catch” and set a lower “actual
                                                             catch” limit. This precautionary approach takes considers
                                                             the surrounding ecosystem and changing environmental
                                                             conditions to support the sustainability of wild
                                                             populations in Alaska’s waters.



   Regulations




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                                                             All fisheries in Alaska are regulated.
                                                             Subsistence – harvesting or possessing seafood by a
                                                             resident of Alaska for subsistence, or noncommercial,
                                                             customary and traditional uses

                                                             Personal – the harvesting or possessing of seafood by a
                                                             resident of Alaska for personal use and not for sale or
                                                             barter

                                                             Sport – fishing for personal use and not for sale or barter

   Commercial – harvesting seafood for commercial, non-personal or subsistence uses




   Did you know?
   ALASKA HAS NEVER HAD A SPECIES OF COMMERCIALLY HARVESTED
   SEAFOOD ON THE ENDANGERED SPECIES LIST.
   By monitoring stocks closely, and fishing responsibly, Alaska ensures its
   seafood can be enjoyed for generations to come.




            Learn about Certification




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      Resource Utilization                                     Social Responsibility                                             Certification

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S
       ubsistence uses—including the hunting, fishing, harvesting, trading, and consumption of
       fish, wildlife, and plant life—are necessary for the livelihood of many residents of Alaska.
       More than the residents of any other state, Alaska’s residents rely on subsistence uses of
fish, wildlife, and plant life for their daily nutritional needs. In particular, subsistence harvests
provide Alaska’s numerous rural communities with a large share of their food supply. These
communities may not have regular access to commercial food sources due to their distance from
urban centers and the high cost of flying foods into some areas. In addition, for many Alaskans,
the role of subsistence uses is about more than food consumption and economics; it is directly
tied to their history and central to their customs and traditions. In many Alaska Native
communities, subsistence uses are vital not only as a source for food but also as they relate to
clothing, transportation, trade, ceremonial activities, and other purposes.1
Given the cultural and economic importance of subsistence uses to certain communities in
Alaska, and the potential for protections of such uses to affect other resource priorities, issues
related to the management of subsistence use are of significant interest at the local, state, and
federal levels. Both state and federal law have recognized and protected the usage of resources
from Alaska’s lands and waters for subsistence purposes. The State of Alaska generally manages
subsistence uses on state lands, Alaska Native Corporation (ANC) lands, and other private lands.2
The federal government manages these practices both on federal lands and in the territorial sea
and exclusive economic zone in offshore waters beyond state waters (i.e., generally from 3 to 200
nautical miles from the baseline of low sea level).3 In addition, the federal government may
exercise authority to manage subsistence uses outside federal boundaries when concerning a
particular species or a specific region in Alaska.
This report begins with an overview of subsistence uses of resources in Alaska and the traditional
and current practices of those who partake in such activities. The report then discusses selected
federal statutes that apply to subsistence uses of fish, wildlife, and plant life; their application in
Alaska; and how federal agencies implement and administer these statutory requirements. Federal
management of subsistence uses of natural resources in Alaska is complex and governed by
various laws depending on the type of species involved, where such activities take place, and
other factors; this report highlights only certain federal statutes of congressional interest. As part
of this discussion, the report explores whether, or to what degree, such statutes provide a
preference for certain groups in protecting the right to subsistence practices. Finally, the report
examines various issues in which Congress may have, or has previously expressed, an interest.




1 For example, see National Park Service (NPS), “Subsistence: Preserving a Way of Life,” at https://www nps.gov/gaar/

learn/historyculture/subsistence htm. See also Bureau of Indian Affairs, “Subsistence Branch,” at https://www.bia.gov/
regional-offices/alaska/subsistence-branch; and Testimony from Rosita Worl, Alaska Federation of Natives, in U.S.
Congress, Senate Committee on Energy and Natural Resources, Subsistence, To Examine Wildlife Management
Authority within the State of Alaska Under the Alaska National Interest Lands Act and the Alaska Native Claims
Settlement Act, 113th Cong., 1st sess., September 19, 2013, S. Hrg. 113-118 (Washington: GPO, 2013). Hereinafter
referred to as S. Hrg. 113-118.
2 For more information on Alaska Native Corporations, see CRS Report R46997, Alaska Native Lands and the Alaska

Native Claims Settlement Act (ANCSA): Overview and Selected Issues for Congress, by Mariel J. Murray.
3 States are generally responsible for managing offshore waters up to 3 nautical miles (nm) from shore. Federal

management of offshore waters generally extends from 3 nautical miles (nm) to 200 nm from shore. This includes
territorial seas up to 12 nm seaward of the baseline and the exclusive economic zone (EEZ), which extends up to 200
nm from the baseline. For more information on offshore jurisdictional zones, see CRS Report R45952, U.S. Offshore
Aquaculture Regulation and Development, by Anthony R. Marshak.




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What Does Subsistence Uses Mean?
Although usage varies, generally speaking, the term subsistence uses or subsistence in federal
statutes and regulations refers to the practice of relying on the surrounding environment as a
source of food and materials for daily life. For some, the term subsistence uses includes only such
nutritional or economic purposes. For others, the concept of subsistence use extends beyond
sustenance to encompass activities tied to their historical and cultural identity. In particular, some
Alaska Native communities have criticized the term subsistence and its usage for not adequately
capturing how such practices are integrated into their cultural, religious, and social systems.4 For
many Alaska Natives, subsistence uses of fish, wildlife, and plant life are directly tied to their
way of life and rooted in their historical and cultural identities.5 Beyond relying on these
resources for food, these communities may rely on harvesting and processing wild resources for
clothing, fuel, transportation, construction, traditional arts and crafts, customary trade, and other
purposes.
Certain federal laws and regulations—including those that directly address land management in
Alaska—include definitions for subsistence or subsistence uses.6 For example, the Alaska
National Interest Lands Conservation Act (ANILCA), the primary statute governing subsistence
activities on federal lands in Alaska, defines subsistence uses as
“the customary and traditional uses by rural Alaska residents of wild, renewable resources for
direct personal or family consumption as food, shelter, fuel, clothing, tools, or transportation; for
the making and selling of handicraft articles out of nonedible byproducts of fish and wildlife
resources taken for personal or family consumption; for barter, or sharing for personal
or family consumption; and for customary trade.”7
ANILCA does not define wild, renewable resources, but agencies generally have interpreted the
law to apply to animals; plants, including timber and berries; and other living resources, such as
fungi.8 Other statutes and regulations define subsistence similarly but may be narrower in scope
due to the applicability of the law in question. For example, implementing regulations for the
Migratory Bird Treaty Act (MBTA) define subsistence to mean “the customary and traditional
harvest or use of migratory birds and their eggs by eligible indigenous inhabitants for their own
nutritional and other essential needs.”9 (See “Selected Federal Statutes Governing Subsistence
Uses of Resources in Alaska” for more information.) Generally, laws distinguish between
hunting, fishing, or harvesting in the customary and traditional nature of subsistence practices
and for recreational or commercial purposes.10

4 S. Hrg. 113-118. See also Isaac Stone Simonelli, “The Subsistence Economy Is More Than Cash and Calories,”

Alaska Native Magazine, May 16, 2022.
5 Meghan Sullivan, “Can Indigenous Subsistence Rights Still Be Protected in Alaska?” KTOO, October 28, 2021.

Hereinafter referred to as Sullivan, “Indigenous Subsistence Rights.”
6 For the purposes of this report, subsistence is used in the context of management of natural resources and the

harvesting of such resources for personal or traditional purposes. Other federal laws define subsistence for different
purposes unrelated to the topics discussed in this report.
7 16 U.S.C. § 3113.

8 See implementing regulations for the Alaska National Interest Lands Conservation Act (ANILCA; P.L. 96-487) at 36

C.F.R. Part 242 and 50 C.F.R. Part 100.
9 50 C.F.R. §92.4.

10 36 C.F.R. §242.4 defines customary and traditional use for the purposes of ANILCA to mean a long-established,

consistent pattern of use, incorporating beliefs and customs that have been transmitted from generation to generation,
that plays an important role in the economy of the community. Regulations outline an eight-part criteria for determining
customary and traditional use at 50 C.F.R. §100.16.



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For the purposes of this report, the term subsistence is used throughout for consistency and due to
the legal significance of the term and its general use within and across federal statutes. However,
the usage and description of subsistence herein may not fully encompass all aspects of the term or
its meaning across all stakeholder groups. CRS recognizes that subsistence may have different
applicability based on statutory context and that some stakeholders may raise concerns about the
adequacy of the term or its scope based on their specific perspectives and interests.


Brief History and Background
Alaska Native communities have relied on harvesting fish and wildlife resources for subsistence
for thousands of years. Various birds, fish, marine mammals, land mammals, and plants have all
been historical sources of food and supplies, with some communities more reliant on certain
resources due to their geographic location, seasonality, and cultural traditions. Today, both Alaska
Native communities and non-Alaska Natives use natural resources for subsistence purposes.
Subsistence harvesting of fish and wildlife resources is particularly critical in rural Alaska, where
it remains a cornerstone of food security and daily life. This is due, in part, to many rural
Alaskans’ limited access to commercial centers and the often high cost of retail food across many
parts of the state.11 According to federal estimates, approximately 18,000 tons of wild foods are
harvested annually by rural Alaskans for subsistence uses.12 The largest share comes from
harvesting fish, which makes up roughly 56% of the subsistence harvest statewide.13
From 1867 (the year the United States purchased Alaska) until Alaska’s statehood in 1959, the
federal government was primarily responsible for managing Alaska’s fish and wildlife resources.
Starting in the early 20th century, Congress passed numerous laws aimed at restricting hunting
practices to protect certain species. Many of these laws expressly exempted hunting and fishing
for subsistence uses from such limitations or seasonal closures. For example, the Alaskan Game
Law of 1902 restricted the taking of game animals but exempted hunting for food or clothing by
“native Indians or Eskimos or by miners, explorers, or travelers on a journey when in need of
food.”14 Upon Alaska’s statehood, the federal government transferred the general authority to
manage fish and wildlife to the new state government, consistent with the traditional role of states
in managing such resources, and the Alaskan government subsequently enacted laws recognizing
subsistence harvesting of fish and wildlife resources.15
In the 1970s and early 1980s, Congress passed legislation that reasserted a federal role in
protecting and managing subsistence uses in Alaska for certain species or lands. When Congress

11 James A. Fall and Marylynne L. Kostick, “Food Security and Wild Resource Harvests in Alaska,” Alaska

Department of Fish and Game, Division of Subsistence, July 2018.
12 Department of the Interior (DOI), “Federal Subsistence Management Program,” at https://www.doi.gov/subsistence.

Estimates from the Alaska Department of Fish and Game are generally similar to those provided by DOI. Estimates for
total subsistence harvests can be difficult to track, as most estimates are reliant on self-reporting from communities and
individuals. As a result, precise estimates for annual subsistence harvests are not readily available.
13 Ibid.

14 Act of June 7, 1902, 32 Stat. 327, amended, Act of May 11, 1908, 35 Stat. 102. Here and throughout this report, the

term Eskimo is used due to its inclusion in and legal significance under federal laws. CRS recognizes that the term may
be considered derogatory or offensive to some Alaska Native communities.
15 For example, the Act of Apr. 16, 1960, Alaska Sess. Laws 179, recognized subsistence fishing and placed limitations

on such practices (e.g., requiring subsistence fishers to obtain a license and establishing income limitations for issuing
such licenses). For more information on states’ role in managing fish and wildlife resources both on and off federal
lands and waters, see CRS Report R45103, Hunting and Fishing on Federal Lands and Waters: Overview and Issues
for Congress, by Christopher R. Field, and CRS Report R44267, State Management of Federal Lands: Frequently
Asked Questions, by Carol Hardy Vincent.



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passed or amended laws protecting certain species on a national scale and passed a law to manage
species on federal lands in Alaska, it included specific exemptions for subsistence users—
particularly those in Alaska—from certain otherwise prohibited activities. The sections below
discuss a selection of these laws.

Alaska Native Land Claims and Subsistence Use Rights
Matters involving the resource rights of American Indians and other Indigenous communities
often are complex and may require consideration of treaties, executive orders, acts of Congress,
regulations, case law, and deeds or other land title documents. For many American Indians in the
lower 48 states, hunting and fishing rights (including hunting and fishing for subsistence uses)
were preserved and generally are governed by long-standing treaties with the federal government.
In Alaska, however, the federal government used a different approach to resolving land claims
and established a land entitlement system distinct from the reservation system in place for many
tribes in the lower 48 states.
The Alaska Native Claims Settlement Act (ANCSA), enacted in 1971, extinguished Alaska
Natives’ claims to over 360 million acres of land.16 In exchange, Alaska Natives received
approximately 45 million acres of land and a settlement payment of $962.5 million (roughly
$5.24 billion in current dollars). Pursuant to ANCSA, the majority of this land and cash
settlement was divided among ANCs, which include more than 200 village corporations and 12
regional corporations. Unlike tribal governments, which have government-to-government
relationships with the United States, ANCs are business entities organized under the laws of
Alaska. Once an ANC receives title to land under ANCSA, the land is considered private
property. This ownership structure differs from most tribal lands in the lower 48 states, which are
owned by the federal government and held in trust for the benefit of the tribe communally or
tribal members individually. Accordingly, whereas tribal lands in the lower 48 states are generally
federal lands managed pursuant to a federal trust relationship, ANC and village corporation lands
in Alaska are private lands managed by the corporations and governed under federal, state, and
local laws.17
In addition to extinguishing prior title and land claims held by Alaska Natives, ANCSA
extinguished “any aboriginal hunting or fishing rights” on lands in Alaska.18 As a result, federal
hunting and fishing rights of most Alaska Native communities are determined by various laws
enacted after ANCSA’s passage rather than pursuant to preexisting rights preserved in treaties.
These governing laws include those discussed in this report.




16 Alaska Native Claims Settlement Act (ANCSA; P.L. 92-203, codified at 43 U.S.C. §§1601 et seq., as amended). For

more information on Alaska Native land claims and ANCSA, see CRS Report R46997, Alaska Native Lands and the
Alaska Native Claims Settlement Act (ANCSA): Overview and Selected Issues for Congress, by Mariel J. Murray.
17 Although most Alaska Native communities ceded their tribal land—and subsequently their hunting and fishing rights

to those lands—to the federal government under ANCSA, there were some exceptions. The Metlakatla Tribe opted not
to join the ANCSA settlement. The Metlakatla Reservation near Ketchikan is the only federal reservation in Alaska,
established by Congress in 1891. As a result, courts have interpreted that the Metlakatla retained certain rights to hunt
and fish both within their reservation boundaries and in certain off-reservation waters where the tribe had traditionally
fished. For more information, see Metlakatla Indian Community v. Dunleavy, No. 21-35185 (9th Cir. Sept. 8, 2022).
18 43 U.S.C. §1603(b).




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Selected Federal Statutes Governing Subsistence
Uses of Resources in Alaska
Although the State of Alaska generally manages subsistence uses of resources on state lands and
certain private lands, including Native allotments and ANC lands,19 the federal government plays
a significant role in managing subsistence uses in Alaska. Congress has passed a number of
statutes that either directly or indirectly provide for the protection and/or recognition of
subsistence uses. Some of these laws, such as such as ANILCA, apply only to the harvesting and
use of resources located on lands owned and managed by the federal government.20 Other federal
laws may apply when concerning subsistence uses of specific species both on and off federal
lands. For example, the Endangered Species Act (ESA) includes an exemption that generally
allows Alaska Natives to harvest listed species for food or for crafting certain traditional
handicrafts, the Marine Mammal Protection Act (MMPA) governs subsistence harvests of marine
mammals, and the Migratory Bird Treaty Act (MBTA) governs the harvest of migratory birds in
certain areas in Alaska.21 The applicability and enforcement of these statutes extend beyond the
federal lands and inland waters that are generally covered under ANILCA.
This section provides a brief overview of selected federal statutes that govern subsistence uses of
resources in Alaska. It discusses their applicability, as well as the role of the federal government
in enforcing relevant subsistence use provisions. Because federal management of subsistence uses
in Alaska is complex and can depend on various factors, this report highlights only certain federal
statutes that may be of interest to Congress.22

Alaska National Interest Lands Conservation Act
Enacted in 1980, ANILCA is the primary statute governing the management of federal lands
within Alaska. ANILCA designated more than 100 million acres of federal land in Alaska as new
or expanded conservation system units that included national parks and preserves, national
wildlife refuges, wilderness areas, and other designations.23 Among its many provisions, ANILCA
specifically recognized and protected subsistence uses on the newly designated lands, as well as
all conservation system units in Alaska established prior to and after ANILCA’s enactment.

19 Native allotments are private lands conveyed to Alaska Natives pursuant to the Native Allotment Act of 1906 (34

Stat. 197) or the Native Townsite Act of May 25, 1926 (44 Stat. 629). Under these laws, Alaska Natives were
authorized to acquire individual allotments of up to160-acre parcels of unreserved, unappropriated land.
20 ANILCA is codified at 16 U.S.C. §§3101 et seq.

21 The Endangered Species Act (ESA) is codified at 16 U.S.C. §§1531 et seq.; the Marine Mammal Protection Act

(MMPA) is codified at 16 U.S.C. §§1361 et seq.; and the Migratory Bird Treaty Act (MBTA) is codified at 16 U.S.C.
§§703-712.
22 Other statutes that may be applicable to certain species or in specific geographic areas are not be included here but

still may impact subsistence uses of resources in Alaska. For example, the Northern Pacific Halibut Act of 1982 (16
U.S.C. §§773-773k) can govern subsistence fishing of Pacific halibut in waters in and off Alaska, whereas, the Fur Seal
Act of 1966 (16 U.S.C. §1153) provides exceptions for “subsistence uses” for the taking of fur seals for “Aleuts,
Eskimos, and Indians” residing on the coasts of the North Pacific Ocean.
23. ANILCA defines conservation system unit to mean “any unit in Alaska of the National Park System, National

Wildlife Refuge System, National Wild and Scenic Rivers Systems, National Trails System, National Wilderness
Preservation System, or a National Forest Monument.” This includes units in existence prior to the enactment of
ANILCA; units established, designated, or expanded pursuant to ANILCA, as well as additions to such units; and any
such unit established moving forward (16 U.S.C. §3102(4). For information on these and other federal land
designations, see CRS Report R45340, Federal Land Designations: A Brief Guide, coordinated by Laura B. Comay.




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ANILCA governs subsistence use of “wild, renewable resources” on federal lands in Alaska (for
more information on the extent of ANILCA’s applicability, see “Multiple Land Management
Mandates and Jurisdictional Questions”).24 Title VIII of the law specifically provides for
preference to be given to “the taking on public lands of fish and wildlife for nonwasteful
subsistence uses” over the taking of fish and wildlife for other purposes.25 Specifically, the law
mandates that “rural residents of Alaska, including both Natives and non-Natives,” be given
priority for subsistence uses of fish and wildlife on federal public lands and waters in Alaska.26 It
further requires that the Secretary of the Interior “ensure that rural residents engaged in
subsistence uses shall have reasonable access to subsistence resources on the public lands.”27
ANILCA’s priority for subsistence uses authorizes federal agencies to limit or restrict the taking
of fish and wildlife for other purposes to protect the continued viability of a fish or wildlife
population or the continuation of subsistence uses of such population.28 In addition, ANILCA
requires federal agencies to consider potential adverse impacts upon subsistence uses and
resources that may result from land use decisions. For example, if a federal agency proposes to
dispose of or lease public lands in a way that would significantly restrict subsistence uses, the
agency is required to hold a hearing in the vicinity of the proposed action. In addition, the agency
must make a determination as to the necessity of the impending action and steps it would take to
minimize any adverse impact upon subsistence uses.29

Federal Management of Subsistence Uses Under ANILCA
Title VIII of ANILCA provides the opportunity to manage subsistence hunting and fishing on
Alaskan federal lands to the State of Alaska in lieu of the federal government.30 Under ANILCA,
such management is contingent upon the state legislature enacting laws consistent with certain
provisions and terms of the legislation. This includes ANILCA’s requirements for establishing a
priority for subsistence hunting and fishing for rural Alaskans. Following the enactment of
ANILCA, the State of Alaska enacted a law that limited the definition of subsistence uses to
residents of “rural areas,” thereby complying with Title VIII of ANILCA.31 Pursuant to Title VIII,
the State of Alaska, through the state Board of Fisheries and Board of Game, managed
subsistence uses on federal lands for the first decade following ANILCA’s enactment. Then in
1989, the Alaska Supreme Court held that the rural residency preference established by state law
(and required under ANILCA) violated the equal access clause of the Alaska state constitution.32
Pursuant to the ruling, the state removed the rural preference from its subsistence use law, which
caused the law to no longer comply with the requirements of Title VIII of ANILCA for state
management on federal lands. Because the Alaska state constitution prevents the state from

24 16 U.S.C. §3113. ANILCA does not define wild, renewable resources, but, as discussed above, agency regulations

have interpreted the term to apply to animals (including non-living parts), plants, fungi, timber, berries, and other
renewable resources found in nature.
25 16 U.S.C. §3114. ANILCA defines take or taking to mean to “pursue, hunt, shoot, trap, net capture, collect, kill,

harm, or attempt to engage in any such conduct” (16 U.S.C. §3102).
26 16 U.S.C. §§3111-3126.

27 16 U.S.C. §3121(a).

28 16 U.S.C. §3114.

29 16 U.S.C. §3120(a)

30 16 U.S.C. §3115(d). ANILCA does not impact the state’s ability to exercise its own jurisdiction over state and

private lands.
31 Act of May 30, 1986, ch. 52, 1986 Alaska Sess. Laws 1.

32 McDowell v. State of Alaska, 785 P.2d 1, 1 (Alaska 1989).




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enacting a law to manage subsistence uses that is consistent with Title VIII of ANILCA, the
federal government has managed subsistence uses on federal lands in Alaska since Alaska
changed its state law in 1990.
At that time, the Department of the Interior (DOI) and the Department of Agriculture (USDA)
determined that federal management of subsistence uses on the public lands required “an
administrative structure ... to execute the Secretaries’ subsistence responsibilities and perform
functions specific to public lands.”33 In light of the federal responsibilities at stake, the Secretaries
of the Interior and Agriculture established the Federal Subsistence Board (FSB) in 1992,
delegating to the FSB the authority to oversee subsistence use programs authorized under Title
VIII of ANILCA.34
DOI and USDA promulgated regulations outlining the FSB’s authorities and responsibilities.
These include issuing rules and regulations for the management of subsistence harvests of fish
and wildlife on Alaska public lands and waters, setting open season dates and harvest limits,
making determinations of rural and non-rural communities and areas, and determining customary
and traditional subsistence uses.35 The authority of the FSB extends only to Alaska federal lands,
primarily those administered by the U.S. Fish and Wildlife Service (FWS), the National Park
Service (NPS), the Bureau of Land Management (BLM), and the U.S. Forest Service (FS).36
Certain waters within or adjacent to federal public lands also have been under the FSB’s
jurisdiction since 1995, when the U.S. Court of Appeals for the Ninth Circuit held that
“subsistence priority applies to navigable waters in which the United States has reserved water
rights” pursuant to the reserved water rights doctrine.37 The reserved water rights doctrine
provides that when the United States withdraws land from the public domain for a particular
federal purpose, it implicitly reserves appurtenant waters that have not otherwise been
appropriated, though only to the extent necessary to fulfill the reservation’s purpose.38

Endangered Species Act
The ESA (16 U.S.C. §§1531 et seq.) aims to conserve species and their ecosystems by identifying
certain species in danger of extinction, either presently or in the foreseeable future. Those species
are then listed as endangered or threatened and are subject to certain statutory and regulatory
protections.39 Among other things, the act prohibits any individual from taking or importing an

33 U.S. Fish and Wildlife Service (FWS) and U.S. Forest Service (FS), “Temporary Subsistence Management

Regulations for Public Lands in Alaska,” 55 Federal Register 27118, June 29, 1990.
34 FWS and FS, “Subsistence Management Regulations for Public Lands in Alaska, Subparts A, B, and C,” 57 Federal

Register 22940-22964, May 29, 1992.
35 Federal subsistence regulations outlining the authorities of the Federal Subsistence Board (FSB) can be found at 36

C.F.R. Part 242 and 50 C.F.R. Part 100. Open season means the time when wildlife may be taken by hunting or
trapping; an open season includes the first and last days of the prescribed season period (36 C.F.R. §242.25).
Regulations require the FSB to consider traditional use patterns when establishing harvest levels, open season dates,
and methods and means of harvesting.
36 ANILCA defines public lands generally to include all lands under federal ownership following the enactment of

ANILCA, with certain exclusions. Exclusions include certain lands owned by the federal government pending
conveyance to the state, Native corporations, or individuals under certain federal statutes (e.g., the Alaska Statehood
Act and the Alaska Native Claims Settlement Act). 16 U.S.C. §3102(3).
37 Alaska v. Babbitt (Katie John I), 72 F.3d 698, 700 (9th Cir. 1995). Prior to this decision, the federal government had

taken the position that the term public lands, as used in ANILCA, did not include navigable waters and, therefore, the
state retained fish and game management authority of subsistence fishing in navigable waters in Alaska.
38 Katie John I, 72 F.3d 698, 703 (9th Cir. 1995).

39 16 U.S.C. §§1531, 1532, 1533, 1539. For more information on the ESA, see CRS Report R46677, The Endangered




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endangered species.40 Under the act, taking means harassing, harming, pursuing, hunting,
shooting, wounding, killing, trapping, capturing, or collecting the species, or attempting to do the
same.41 The prohibitions that apply to endangered species generally may be extended to
threatened species by regulation.42
The ESA allows for certain exceptions from one or more of the act’s prohibitions, including an
exception for Alaska Natives.43 Under the exception, any “Indian, Aleut, or Eskimo” who is
native to and resides in Alaska, and any non-Alaska Native who is a permanent resident of an
Alaskan Native village and who primarily depends on taking fish and wildlife for consumption or
for creating authentic native articles of handicraft and clothing, is not prohibited from taking
endangered or threatened species or from importing any species so taken.44 Any such taking must
be “primarily for subsistence purposes” and “not accomplished in a wasteful manner.”45 The act
does not define subsistence in general but does specify that subsistence includes selling edible
portions of the fish or wildlife, so long as these portions are sold and consumed in Alaskan Native
villages and towns.46
The act also allows nonedible byproducts of such fish and wildlife to be sold in interstate
commerce when they are turned into “authentic native articles of handicrafts and clothing”.47 To
qualify, the handicrafts or clothing must be wholly or in a significant respect composed of natural
materials and must be made or decorated “in the exercise of traditional native handicrafts”
without using any pantographs, multiple carvers, or mass copying devices.48 Examples of such
crafts include weaving, beading, or drawing.49
FWS or the National Marine Fisheries Service (as applicable) can regulate taking of listed species
by “Indian[s], Aleut[s], or Eskimo[s],” or non-Alaska Native residents of Alaskan Native villages,
when either agency determines that such taking is “materially and negatively” affecting the listed
species.50 Any such regulations may specify the geographical area and season for taking the
species and any other factors related to why the regulation is being implemented.51 The
regulations must be removed once the reason for imposing them no longer exists.52




Species Act: Overview and Implementation, by Pervaze A. Sheikh and Erin H. Ward.
40 16 U.S.C. §§1533(d), 1539.

41 16 U.S.C. §1532(19).

42 16 U.S.C. §1533(d).

43 16 U.S.C. §1539.

44
   16 U.S.C. §1539(e). See also 50 C.F.R. §17.5.
45 16 U.S.C. §1539(e). See also 50 C.F.R. §17.5.

46 16 U.S.C. §1539(e)(3)(i).

47 16 U.S.C. §1539(e)(1).

48 16 U.S.C. §1539(e)(3)(ii).

49 Ibid.

50 16 U.S.C. §1539(e)(4). FWS administers the ESA for terrestrial, freshwater species, and catadromous species (e.g.,

eels that spawn in saltwater and live in freshwater as adults) and the National Marine Fisheries Service administers the
ESA for marine and anadromous species (e.g., salmon that spawn in freshwater and live in saltwater as adults).
51 16 U.S.C. §1539(e)(4).

52 Ibid.




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Migratory Bird Treaty Act
The MBTA implements four bilateral treaties governing migratory birds. These treaties between
the United States and Canada, Japan, Mexico, and Russia generally include similar—but
distinct—provisions. In general, each treaty requires the party nations to provide for the
protection of certain migratory birds, allowing for the designation of hunting seasons for certain
game birds and providing for certain exceptions.53 Exceptions for Alaska Native subsistence uses
differ across each treaty. The treaties with Russia and Japan include general exceptions from the
treaties’ prohibitions for Alaska Natives for subsistence needs.54 The original treaty with Canada
included a limited exception for specific species of nongame birds, and the original treaty with
Mexico did not contain an exception for Alaska Natives.55 In the 1990s, the treaties with Canada
and Mexico were amended to allow for seasonal subsistence harvesting for Alaska Natives.56
The MBTA was initially enacted in 1918 to implement the bilateral treaty with Canada and has
been amended to reflect the subsequent treaties and amendments to these agreements. In general,
the MBTA prohibits hunting, taking, capturing, killing, or engaging in an array of commerce-
related activities with respect to specific migratory birds unless that activity is authorized
pursuant to prescribed migratory bird hunting regulations or permits issued for specific
purposes.57 As an exception to these prohibitions, the MBTA authorizes FWS to issue regulations
as needed to ensure the Indigenous inhabitants of Alaska may take migratory birds and collect
their eggs for their own nutritional and other essential needs during seasons established by
FWS.58
FWS has issued regulations implementing this exception for Alaska Natives.59 These regulations
must be consistent with all four treaties.60 To assist with implementation, FWS established the
Alaska Migratory Bird Co-management Council.61 The council comprises representatives from

53 Convention Between the United States and Great Britain for the Protection of Migratory Birds, U.S.-Gr. Brit.,

August 16, 1916, 39 Stat. 1702 [U.S.-Canadian Treaty]; Convention Between the United States of America and Mexico
for the Protection of Migratory Birds and Game Mammals, U.S.-Mex., February 7, 1936, 50 Stat. 1311 [U.S.-Mexico
Treaty]; Convention Between the Government of the United States of America and the Government of Japan for the
Protection of Migratory Birds and Birds in Danger of Extinction, and Their Environment, U.S.-Japan, March 4, 1972,
25 U.S.T. 3329 [U.S.-Japan Treaty]; Convention Between the United States of America and the Union of Soviet
Socialist Republics [Russia] Concerning the Conservation of Migratory Birds and Their Environment, U.S.-U.S.S.R.,
November 26, 1976, 29 U.S.T. 4674 [U.S.-Russia Treaty]. See also U.S. Department of State, Treaties in Force, 238,
296 (2020) (listing subsequent amendments to the treaty).
54 U.S.-Japan Treaty, art. III, 1(e); U.S.-Russia Treaty, art. II, 1(c). The treaty with Japan used the phrase “for their own

food and clothing” and the treaty with Russia used the phrase “for their own nutritional and other essential needs.”
55 U.S.-Canadian Treaty, art. II, cl. 3.

56 Protocol Between the Government of the United States of America and the Government of Canada Amending the

1916 Convention Between the United Kingdom and the United States of America for the Protection of Migratory Birds
in Canada and the United States, U.S.-Can., December 14, 1995, S. Treaty Doc. No. 104–28, 2473 U.N.T.S. 329;
Protocol Between the Government of the United States of America and the Government of the United Mexican States
Amending the Convention for the Protection of Migratory Birds and Game Mammals, May 5, 1997, S. Treaty Doc.
105-26.
57 16 U.S.C. §§703-704.

58 16 U.S.C. §712. This section of the MBTA was added by the Fish and Wildlife Improvement Act of 1978 (P.L. 95-

616, §3(h)(2), (3), Nov. 8, 1978, 92 Stat. 3112).
59 50 C.F.R. part 92.

60 See Alaska Fish and Wildlife Federation and Outdoor Council, Inc. v. Dunkle, 829 F.2d 933, 940-41 (9th Cir. 1987);

S. Rep. No. 1175, 95th Cong., 2d Sess., reprinted in 1978 U.S. Code Cong. & Admin. News 7641.
61 50 C.F.R. §92.10(a).




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the federal government, Alaska, and Alaska Natives from 12 regional management areas.62 The
council develops recommendations for regulations related to the subsistence harvest; procedures
and criteria for areas and communities to become eligible; and recommendations for other areas,
such as law enforcement policies, population monitoring, research and use of traditional
knowledge, and habitat protection.63 The council holds public meetings at least twice a year that
provide an opportunity for public comment.64
FWS regulations identify certain subsistence harvest areas and allow other areas to be designated
as such upon recommendation by the Alaska Migratory Bird Co-management Council.65
Permanent residents of villages in subsistence harvest areas are eligible to harvest migratory birds
and eggs for subsistence purposes; immediate family members of such residents also may assist
with the customary spring and summer subsistence harvest with permission of the village’s or
tribe’s council, as applicable.66 The regulations identify which species are eligible for subsistence
harvesting and provide region- and species-specific periods during which harvest may occur.
They also prohibit certain methods and means of harvesting the birds or eggs.67 The regulations
reserve FWS’s right to close or temporarily suspend any regulations as needed to address
imminent threats to the conservation of any listed species or migratory bird population.68
FWS’s regulations for migratory bird subsistence harvesting in Alaska apply only during the
closed season (March 10 to September 1 each year), when hunting otherwise would be
prohibited.69 During the open season, the regulations that govern the hunting of migratory game
birds apply equally to subsistence harvesting.70

Marine Mammal Protection Act
The MMPA prohibits taking or importing marine mammals or marine mammal products except as
provided for in the act.71 The act provides an exemption from the taking prohibition for Alaska
Natives.72 The exemption applies to “any Indian, Aleut, or Eskimo who resides in Alaska” along
the Arctic Ocean or north Pacific Ocean coasts.73 To qualify, the Alaska Native must take the
marine mammal for “subsistence purposes” or to create and sell authentic native articles of
handicrafts and clothing.74 The taking also must be accomplished in a manner that is not
wasteful.75 Alaska Natives may sell edible components of marine mammals only in Alaska Native



62 50 C.F.R. §§92.10, 92.11.

63 50 C.F.R. §92.10(c).

64 50 C.F.R. §92.10(d).

65 50 C.F.R. §92.5(a), (c).

66 50 C.F.R. §92.5(a), (d).

67 50 C.F.R. §§92.20, 92.22, 92.31.

68 50 C.F.R. §92.21.

69 50 C.F.R. §92.3.

70 Ibid. The regulations that govern hunting migratory game birds and crows during the regular open season for non-

subsistence use are found in 50 C.F.R. part 20.
71 16 U.S.C. §1371(a).

72 16 U.S.C. §1371(b); 50 C.F.R. §§18.23, 216.23.

73 16 U.S.C. §1371(b).

74 16 U.S.C. §1371(b)(1)-(2).

75 16 U.S.C. §1371(b)(3).




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villages and towns or for native consumption, but they may sell native handicrafts and clothing in
interstate commerce.76
Take by Alaskan Natives may be regulated with respect to species or stocks of marine mammals
that are determined to be depleted under the MMPA.77 A species or stock is depleted when it is
listed as endangered or threatened under the ESA or when an appropriate federal or state agency
determines the species or stock is below its optimum sustainable population.78 The optimum
sustainable population of a species or stock is the population level that will maximize the species’
or stock’s productivity, based on its habitat and the health of its ecosystem.79 Any such
regulations may establish particular geographical areas or seasons for taking, as well as any other
factors related to the reason for imposing the restriction.80 The regulations must be removed once
the reason for imposing them no longer exists. The National Marine Fisheries Service has enacted
regulations governing the take of beluga whales in Cook Inlet and fur seals on the Pribilof
Islands.81 FWS has enacted regulations governing take of the Pacific walrus.82


Issues for Congress
Subsistence hunting and fishing in Alaska has long been an issue of congressional and
stakeholder interest. Over the years, various groups, including Alaska Native communities, rural
residents, and other interest groups, have identified an array of issues pertaining to subsistence
use. These issues range from general concerns, such as the role of the federal government in
managing such activities or the impacts of climate change on communities that engage in
subsistence use practices, to more specific concerns regarding priority access and harvesting
limits. This section provides an overview of selected issues that have been of interest to Congress
in recent years.

Federal Versus Nonfederal Management
The role of the federal government in overseeing subsistence uses in Alaska is an ongoing issue
of congressional interest. Some concerns generally relate to federal ownership and management
of land, such as whether Congress should transfer ownership of some lands or delegate some
resource management responsibilities to the State of Alaska. Other concerns are specific to
federal programs addressing subsistence uses, such as federal management under the FSB, and
federal engagement and cooperation with local and Alaska Native communities.
In general, the federal government has recognized states’ traditional authority to manage fish and
resident wildlife within their borders. That authority typically extends to federal lands, barring
specific preemptions.83 For subsistence harvests in Alaska, however, the federal government—
primarily through ANILCA—asserted authority over certain aspects of natural resource

76 16 U.S.C. §1371(b).

77 16 U.S.C. §1371(b).

78 16 U.S.C. §1362(1).

79 16 U.S.C. §1362(9).

80 16 U.S.C. §1371(b).

81 50 C.F.R. §§216.23, 216.71-216.74.

82 50 C.F.R. §18.23(c).

83 Examples include the closure of certain national park units and national wildlife refuges to hunting and fishing under

federal laws, as well as the limitations on taking certain species under other federal wildlife laws.




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management on federal lands. To address this potential conflict, Title VIII of ANILCA provides
the state with the opportunity to manage subsistence harvesting on federal lands in place of the
federal government so long as state subsistence laws are in compliance with ANILCA. However,
following the aforementioned legal decisions in the late 1980s (see “Federal Management of
Subsistence Uses Under ANILCA”), the federal government has overseen management of fish,
wildlife, and plant life for subsistence purposes through the FSB since 1990. This management
transfer to the FSB has continued to be an issue of ongoing debate.84
Initially, some stakeholders and state lawmakers assumed federal management under ANILCA
would be temporary until the state came into compliance through legislative or administrative
action.85 The initial regulations for the FSB were promulgated as temporary rules “in anticipation
of the State returning to compliance with Title VIII.”86 The agencies further stated that “it is
preferable to have [subsistence fish and game] management responsibility lie with the State.”87
However, since the state has not resolved the question of compliance with both Title VIII and the
Alaska state constitution, federal management under the FSB has continued despite opposition
from some stakeholders. For example, some have suggested that because a federal management
entity was not envisioned by ANILCA (it is not explicitly mentioned or alluded to in the law), the
FSB’s management role is out of step with Congress’s initial intent in enacting ANILCA.88
Others have suggested expanding the federal government’s role in managing subsistence uses.
This approach has included proposals for the federal government, rather than the state, to manage
subsistence on the roughly 45.5 million acres of Alaska Native-owned land conveyed under
ANCSA.89
In addition to concerns regarding the extent of the federal government’s authority, some
stakeholders have questioned the federal government’s ability to provide for adequate subsistence
harvests for qualified users. They have raised questions of whether the federal government can
adequately manage the substantial land area subject to ANILCA (more than 60% of land in
Alaska is under federal jurisdiction). Others have suggested that the FSB and other federal
agencies have failed to prioritize land management decisions that ensure healthy and abundant
populations are available for continued subsistence use.90 To address these issues, stakeholders
have advocated for allowing state managers to conduct management activities on federal lands.91
Others have argued that implementation of state wildlife strategies—and in particular, intensive or
active management approaches—would directly conflict with the statutory mandate some federal
agencies have in managing wildlife resources (see “Multiple Land Management Mandates and
Jurisdictional Questions” for more information).92


84 S. Hrg. 113-118.

85 Frank Norris, “Alaska Subsistence: A National Park Service Management History,” DOI, 2002.

86 FWS and FS, “Temporary Subsistence Management Regulations for Public Lands in Alaska,” 55 Federal Register

27114, June 29, 1990.
87 Ibid.

88 Kyle Joly, Sanford P. Rabinowitch, and Julie Lurman Joly, “Dual Management of Wildlife in Alaska: Making

Federal Practice Align with Federal Mandates,” The George Wright Forum, vol. 32, no. 1 (2015), pp. 18-24.
89 Kyle Hopkins and Sean Cockerham, “Subsistence Rights Expected to Headline AFN Convention,” Anchorage Daily

News, October 19, 2009, updated September 17, 2016.
90 S. Hrg. 113-118, p 16. Testimony from Craig Fleener, Deputy Commissioner, Alaska Department of Fish and Game.

91 Ibid.

92 Coalition to Protect America’s Parks, “Coalition Condemns Cynical Proposal to Repeal NPS Alaska Hunting

Regulations,” September 24, 2018.




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Other concerns pertain to the manner in which the federal government engages and interacts with
local and Alaska Native communities. Some Alaska Native stakeholders have pointed to past
failures by federal agencies to allow traditional subsistence harvest practices as a source of
ongoing distrust and frustration between these communities and the government.93 Still others
have suggested federal agencies should strengthen resource management partnerships via
cooperative agreements and comanagement relationships with Alaska Native and local
communities.94 Alaska Native communities have called on federal agencies to incorporate and
prioritize Indigenous knowledge into federal fish and wildlife management, monitoring, and
research programs.95 The federal government has conducted reviews of its programs managing
subsistence harvesting of resources and has made changes in response to some of these concerns.
Past Administrations also have pointed to the “bottom-up management” approach provided by
regional advisory councils—administrative bodies that provide advice and recommendations to
the FSB about subsistence hunting and fishing issues in Alaska.96 Pursuant to regulations, these
councils must have representation from local communities within the applicable region with
knowledge of issues relating to subsistence harvest, which some argue allows for local residents
to have a substantial role in guiding the federal subsistence program.97

Multiple Land Management Mandates and Jurisdictional
Questions
Although ANILCA and other statutes establish a management priority (or exemption) for
subsistence uses, the federal government is required to balance these requirements with other
management provisions established under other laws (e.g., the National Wildlife Refuge System
Administration Act for FWS and the National Park Service Organic Act of 1916 for NPS).98 The
purposes and mandates of these laws are not always easily balanced, and at times agencies may
be directed to engage in activities that seem at odds with one another. As a result, some agencies
have been reluctant to engage in certain activities that support subsistence uses but may not
advance the management goals established under other authorities. In particular, some agencies
have declined, at times, to pursue the type of active or intensive management of fish and wildlife
populations (e.g., predator control, habitat enhancements) that some stakeholders claim is
necessary to sustain subsistence needs.99 For example, stakeholders and state management
officials have suggested NPS and FWS have resisted these types of management practices in
Alaska because of their interpretation of the NPS Organic Act of 1916 (NPS) and the National

93 For example, in 2018, FWS issued a formal apology to Indigenous Alaskans for regulations implemented pursuant to

the MBTA in the 1960s and 1970s that severely impacted these communities’ ability to harvest birds and eggs during
the spring season. See FWS and Alaska Department of Fish and Game, “Apology for Harmful Impacts of Past Bird
Harvest Prohibitions,” September 13, 2018, at https://www fws.gov/node/267704.
94
   DOI and USDA, Federal Subsistence Policy Consultation Summary Report, June 14, 2022, at https://www.bia.gov/
sites/default/files/dup/tcinfo/final-subsistence-consultation-summary-report_6.10.22_508.pdf. Hereinafter referred to as
DOI and USDA, Federal Subsistence Policy.
95 Ibid. See also Isabella Turilli, “Survival, Subsistence, and Food Sovereignty in Alaska,” Think Global Health,

January 17, 2023.
96 S.Hrg. 113-118, p. 11. Testimony of Beth Pendleton, Regional Forester, Alaska Region, FS.

97 Ibid. Membership requirements for the FSB and the regional advisory councils can be found at 36 C.F.R. §242.10

and 36 C.F.R. §242.11, respectively.
98 The National Wildlife Refuge System Administration Act is codified at 16 U.S.C. §§668dd-668ee, and the NPS

Organic Act of 1916 is codified at 54 U.S.C. §§100101 et seq.
99 S.Hrg. 113-118. See also Tim Bodony, “State Sues Federal Land Managers over Predator Hunting Restrictions,”

Alaska Public Media, January 18, 2017.




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Wildlife Refuge System Administration Act (FWS) and those laws’ emphasis on “park values”
and “natural diversity,” respectively.100 Agencies generally have highlighted the difficulty in
balancing the demands of subsistence users with multiple legal mandates and other public
interests.101 In other instances, agencies such as FS and BLM are explicitly required by statute to
manage lands and resources under their jurisdiction for multiple uses, including energy
development, livestock grazing, recreation, and timber harvesting, which some have claimed
prevents subsistence use from being properly prioritized. Specifically, some stakeholders have
pointed to BLM’s onshore oil and gas leasing program as having potential harmful impacts to
subsistence users.102 Others, including some Alaska Native stakeholders, suggest that present and
future oil and gas development is the foundation of a sustained local economy and must be
balanced with ensuring future subsistence use.103
Other challenges include balancing competing objectives within the same statute, as some laws
that require protection of migratory birds or threatened or endangered species also authorize
subsistence harvests. To address some of these concerns, DOI has established policies requiring
agencies to consult with Alaska Native communities when regulating subsistence harvest of
endangered or threatened species.104 These consultation requirements aim to preserve subsistence
harvest rights while minimizing adverse impacts on listed species.
In addition to conflicting mandates, some stakeholders have argued that sustainable resource
management challenges are compounded when multiple governmental entities (state and/or
federal) have jurisdiction over the same or similar resources. In particular, the “dual regulation of
fish and game resources where state and federal jurisdictions intersect” has created confusion
among subsistence and rural communities in Alaska, according to some stakeholders.105 For
example, in instances where state and federal regulations have different limits for a certain
species, subsistence users must be aware of the jurisdiction in which they are hunting or fishing to
know whether they are harvesting in accordance with applicable regulations. This exercise can
become further complicated when hunting or fishing near the boundary between such lands,
particularly if no clear markers delineate the federal-state boundary. In addition, some have
argued that implementing a federal regulatory framework alongside a similar state system
increases administrative costs that might otherwise be avoided with a single regulatory body.106
Other jurisdictional concerns relate specifically to whether and where the federal government has
jurisdiction over inland waters, bringing them under the definition of public lands for purposes of
ANILCA and therefore requiring subsistence use management of the inland waters and their


100 S.Hrg. 113-118, Testimony from Craig Fleener, Deputy Commissioner, Alaska Department of Fish and Game, p.

18.
101 S.Hrg. 113-118, Testimony from Gene Peltola, Assistant Regional Director, Office of Subsistence Management,

FWS.
102 For example, see Scott Streater, “Biden Plan Could Advance Massive Arctic Oil Project,” E&E News, July 11,

2022. Additional concerns have been raised regarding potential oil and gas development in the Arctic National Wildlife
Refuge. For information on this issue, see CRS In Focus IF12006, Arctic National Wildlife Refuge: Status of Oil and
Gas Program, by Laura B. Comay.
103 For example, see Testimony of Richard Glenn, Arctic Slope Regional Corporation, U.S. Congress, House

Committee on Natural Resources, Subcommittee on Energy and Mineral Resources, Promoting Onshore Oil and Gas
Development in Alaska, 115th Cong., 1st sess., July 18, 2017, S. Hrg 115-17 (Washington: GPO, 2017).
104 See for example, DOI, Secretarial Order No. 3225, Endangered Species Act and Subsistence Uses in Alaska

(Supplement to Secretarial Order No. 3206), January 19, 2001.
105 S.Hrg. 113-118, p. 20.

106 S.Hrg. 113-118, Testimony from Craig Fleener, Deputy Commissioner, Alaska Department of Fish and Game.




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        Figure 1. Federal Subsistence Board Non-rural and Rural Determinations
                                               (as of December 2022)




     Source: Department of the Interior, “Federal Subsistence Management Program, Non-rural Areas,” p. 1, at
     https://www.doi.gov/sites/doi.gov/files/non-rural-areas.pdf.

One specific issue that has generated concern is the factors that the FSB considers in making such
a determination. Under previous regulations, the FSB would determine if a community was rural
or non-rural based primarily on set population ranges (e.g., communities of 2,500 or fewer
residents were deemed rural).112 The regulations required these determinations to be reviewed
every 10 years. Through this review process, the FSB had determined that a number of rural areas
had become non-rural and therefore would become ineligible for the Title VIII subsistence use
priority.113 After stakeholders raised concerns about the implications of individuals becoming
ineligible, the federal government promulgated new regulations in 2015 that removed specific
guidelines for the non-rural determination process, including requirements regarding population
data, the aggregation of communities, and the decennial review.114 According to the agencies,
these new regulations provide the FSB with more discretion in making decisions by taking into
account regional differences across Alaska and allow for greater input from relevant
stakeholders.115 Even with the new regulations, certain stakeholders believe the revised
regulations continue to exclude certain residents—especially Alaska Native residents living in
non-rural areas—for whom subsistence uses on federal lands are important to maintaining a

112 FWS and FS, “Subsistence Management Regulations for Public Lands in Alaska, Subparts A, B, and C,” 57 Federal

Register 22940-22964, May 29, 1992. Under these regulations, the FSB was required to take into consideration
community or area “characteristics” when evaluating rural or non-rural status. These characteristics could include the
use of fish and wildlife in daily life, the development and diversity of the economy, community infrastructure, and
other factors.
113 See, for example, a 2007 decision to list Prudhoe Bay as non-rural (FS, FWS, “Subsistence Management

Regulations for Public Lands in Alaska, Subpart C; Nonrural Determinations,” 72 Federal Register 25688, May 7,
2007) and the proposed rule to change the status of the Kodiak area from rural to non-rural (71 Federal Register
46416, August 14, 2006).
114 80 Federal Register 68245-68248.

115 DOI, “Federal Subsistence Board Adopts Policy on Nonrural Determinations,” press release, January 18, 2017, at

https://www.doi.gov/sites/doi.gov/files/uploads/fsb_nonrural.pdf.




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connection with their culture and traditional practice (see “Alaska Native Versus Non-Alaska
Native Eligibility”).116

Differences in Subsistence Use Eligibility Across Statutes
Each of the statutes discussed in this report establishes explicit exemptions or priority use for
certain subsistence practices across Alaska. How and when these exemptions or priorities apply
vary depending on the law in question. Some statutes establish subsistence priorities or
exemptions based on the racial or ethnic identity of the user, whereas others base applicability on
certain geographic regions. Still others some consider both racial and geographic factors. For
example, the ESA explicitly exempts “native Alaskans” from prohibitions on taking or importing
endangered or threatened species for subsistence purposes.117 Under the law, native Alaskan
includes any “Indian, Aleut, or Eskimo” who resides in Alaska—as well as non-Alaska Native
individuals who are permanent residents of Alaskan Native villages.118 Meanwhile, the
subsistence use exemption under the MMPA applies only to “Indian, Aleut, or Eskimo”
individuals and further limits the exemption to only those individuals living “on the coast of the
North Pacific Ocean or the Arctic Ocean.”119 Non-Alaska Native individuals are not eligible for
an exemption under the MMPA.
By contrast, the MBTA and ANILCA do not specifically limit subsistence use rights on the basis
of race or racial heritage. The MBTA exemption applies to “indigenous inhabitants of the State of
Alaska,” and FWS regulations define the term to mean “a permanent resident of a village within a
subsistence harvest area, regardless of race.”120 Similarly, although ANILCA recognizes the
importance of subsistence uses to “Native physical, economic, traditional, and cultural existence,”
the law does not restrict subsistence hunting and fishing on federal lands to Alaska Natives or
grant priority rights for such practices on the basis of tribal or Native affiliation. Instead, the law
defined subsistence uses in terms of the customary and traditional uses by “rural Alaska
residents,” effectively extending the subsistence use priority on federal lands to both Alaska
Native and non-Alaska Native residents.121
Given the complexity of this statutory framework, and the manner in which these laws may
overlap and apply different qualifying standards, when and for whom subsistence use rights and
exemptions apply can cause confusion. For example, an individual eligible for subsistence use
priority under ANILCA may not be able to continue subsistence harvest practices with respect to
a particular species if the species is subsequently listed as endangered or threatened under the
ESA. Similarly, although FWS has indicated that no migratory birds open for harvest during the
subsistence season in Alaska are currently threatened or endangered species, a future listing could
cause a person previously eligible to hunt a species under the MBTA to no longer be eligible to
hunt it under the ESA due to the differing eligibility provisions of the two statutes.




116 See, for example Raegan Miller, “Advisory Council Advances Proposal to Open Federal Subsistence Hunts and

Fisheries to Ketchikan Residents,” KRDB Community Radio, October 27, 2022.
117 16 U.S.C. §1539(e).

118 As discussed above, the term Eskimo may be considered derogatory or offensive to some Native Alaskan

communities but is used due to its legal significance under federal laws (see footnote 14.
119 16 U.S.C. §1371(b).

120 50 C.F.R. §92.4

121 16 U.S.C. §3114.




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Alaska Native Versus Non-Alaska Native Eligibility
Another issue that has been a topic of debate is whether, or the degree to which, subsistence use
priorities or exemptions apply to non-Alaska Native communities. Only the MMPA subsistence
use exemption applies exclusively to “Indian, Aleut, or Eskimo” individuals (and only when those
individuals are living on the coast of the North Pacific Ocean or the Arctic Ocean). Other
subsistence-related statutes generally apply to both Alaska Native and non-Alaska Native
individuals. Some Alaska Native communities object to the extension of subsistence use rights
and exemptions to non-Alaska Native communities, claiming this approach risks not adequately
ensuring and protecting Alaska Native subsistence practices and culture.122 The lack of explicit
protections or priority for Alaska Native subsistence users in ANILCA (which instead confers
such benefits to “rural Alaska residents”) in particular has been an issue of concern for some
Alaska Native communities.
With the passage of ANCSA in 1971, aboriginal hunting and fishing rights were extinguished for
participating Alaska Native communities.123 Although the conference report for ANCSA indicates
that Congress may have expected that the Secretary of the Interior and the State of Alaska would
use their authorities to protect specifically Alaska Native interests in subsistence activities,124
following the law’s passage many stakeholders expressed dissatisfaction with any such
limitation.125 The passage of ANILCA in 1980 was intended, in part, to resolve the issues of
Alaska Native subsistence uses through Title VIII’s rural priority provision,126 which extends to
both Alaska Natives and non-Alaska Natives. Since then, some Alaska Native communities have
contended that ANILCA insufficiently protects the continuation of Alaska Native subsistence use
rights and have advocated for amending the law to provide an explicit Alaska Native priority or
higher priority for Alaska Natives, which they believe would better protect their traditions and
culture.127
By contrast, some have highlighted that subsistence uses are also vitally important to the food
security of non-Alaska Natives in rural communities and therefore have advocated for a modified
rural priority under ANILCA.128 Under this approach, ANILCA’s subsistence use priority would


122 Sullivan, Indigenous Subsistence Rights.”

123 As mentioned above, not all Alaska Native communities ceded their land claims—and subsequently their hunting

and fishing rights to those lands—to the federal government under ANCSA.
124 H.Rept. 92-746, 91st Cong., 1st sess. (1970), reprinted in 1971 U.S. Code Cong. & Adm. News 2247, 2248. (“The

conference committee, after careful consideration, believes that all Native interests in subsistence resource lands can
and will be protected by the Secretary through the exercise of his existing withdrawal authority.”)
125 David S. Case and David A. Voluck, Alaska Natives and American Laws, 3rd ed., Fairbanks, AK: University of

Alaska Press, 2012), pp. 292-293 (“Some nine years later it was compellingly clear that neither the state nor the
Secretary were likely to protect subsistence in the manner Congress had contemplated”). See also Kristin McCarrey,
“Alaska Natives: Possessing Inherent Rights to Self-Governance and Self-Governing from Time Immemorial to
Present Day,” American Indian Law Journal, vol. 2, no. 1 (May 2017), pp. 437-452.
126 The legislative history of ANILCA indicates that Alaska Native subsistence use was an overriding concern in

developing the Title VIII provision. See, for example, U.S. Congress, House Committee on Interior and Insular Affairs,
Alaska National Interest Lands Conservation Act of 1979, 96th Cong., 1st sess., April 18, 1979 (Washington: GPO,
1979), p. 230 (“The importance of subsistence uses ... to the physical, economic and cultural well-being of Alaska
Natives and other rural residents has been exhaustively chronicled in testimony presented at hearings, town meetings
and workshops held by the committee during consideration of both the Alaska Native Claims Settlement Act and the
Alaska National Interest Lands Conservation Act.”).
127 For example, see Alaska Federation of Natives, “Subsistence Action,” at https://www.nativefederation.org/

subsistence-action-workshops/.
128 Miranda Strong, “Alaska National Interest Lands Conservation Act Compliance & Nonsubsistence Areas: How Can




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Enforcement
Other potential challenges facing federal agencies involve the enforcement of subsistence use
provisions under the law. Some of these issues are not specific to subsistence use but rather
reflect overall challenges regarding the enforcement of wildlife and conservation laws,
particularly in Alaska.130 As mentioned, more than 60% of land in Alaska is under federal
jurisdiction, comprising more than a third of the entire federal estate.131 Many of these lands are
in remote regions, making enforcement and oversight challenging. In some cases—due, in part, to
the sheer scale of their jurisdictional boundaries—federal agencies rely on citizen reports and/or
whistleblowers to identify crimes and enforce penalties.132 Some Members of Congress have
introduced legislation that would aim to improve the protection of whistleblowers and support
funding of certain wildlife and conservation statutes.133
Other potential law enforcement challenges may be more specific to subsistence uses and
harvests. For example, agencies may run into difficulties verifying for whom and when
subsistence use privileges or exceptions apply. Although the harvest and taking of certain species
for subsistence purposes may require a permit from the state, other subsistence practices only
require eligible individuals to provide identification or some other proof of residency.134 This
could create challenges in ensuring or verifying eligibility for subsistence users. Verification
challenges have been of particular concern for subsistence use provisions under the MMPA,
which (as discussed in “Alaska Native Versus Non-Alaska Native Eligibility”) are limited to
“Indian, Aleut, or Eskimo” individuals living on the coast of the North Pacific Ocean or the Arctic
Ocean.135 Other challenges have involved the limits, or reach, of federal enforcement due to
litigation around the jurisdictional authority provided under federal laws (see also “Multiple Land
Management Mandates and Jurisdictional Questions”).136 Still others, primarily subsistence users
and Alaska Native communities, have suggested that some enforcement practices from both state
and federal agencies have been overly aggressive and have focused too much on subsistence
users, who make up a small percentage of Alaska’s annual resource harvest.137


130 For general issues regarding challenges in enforcing wildlife laws, see Kenneth J. Peak, “Enforcing the Laws of

Wildlife and Recreation (Part One),” Law Enforcement Bulletin, September 27, 2017.
131 See CRS Report R42346, Federal Land Ownership: Overview and Data, by Carol Hardy Vincent and Laura A.

Hanson.
132 For example, see National Whistleblower Network, Special Report: The Critical Role in Whistleblowers in

Enforcing Wildlife Protection Laws, September 14, 2019, at https://www.whistleblowers.org/wp-content/uploads/2019/
09/Wildlife_Report-Sept-2019.pdf; see also Tinker Ready, “Guest Post: Whistleblowers Could Help Expose Wildlife
Criminals in Remote Alaska-Yukon,” Whistleblower Network News, August 25, 2019.
133 For example, H.R. 6059, the Wildlife Conservation and Anti-Trafficking Act of 2021, in the 117th Congress. In

2018, the Government Accountability Office (GAO) published a report looking into the use of financial awards
specifically for the purposes of wildlife trafficking; such findings could be relevant to broader wildlife and conservation
statutes. See U.S. Government Accountability Office, Combating Wildlife Trafficking: Opportunities Exist to Improve
the Use of Financial Rewards, GAO-18-279, April 2018, at https://www.gao.gov/assets/gao-18-279.pdf.
134 For regulations regarding permit requirements for subsistence purposes under ANILCA, see 50 C.F.R. §100.6.

135 Steve J. Langdon, “Determination of Alaska Native Status Under the Marine Mammal Protection Act,” Sealaska

Heritage Institute, August 2016.
136 Elliot Louthen, “Subsistence and Sturgeon: Federal Enforcement on Alaska’s Rivers,” Alaska Law Review, vol. 36,

no. 2 (June 4, 2020), pp. 179-192. This law review article discusses potential challenges facing federal law enforcement
of ANILCA’s subsistence provisions in light of the Supreme Court’s ruling in Sturgeon v. Frost, 139 S. Ct. 1066
(2019), holding that navigable waters within Alaska’s national parks are outside the scope of the NPS’s normal
regulatory authority.
137 For example, see 74 Federal Register 23336 (“[FWS] received nine comments regarding the enforcement of the




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Climate Change
Issues related to climate change also may impact subsistence use practices in Alaska and may
have implications for federal land management and agencies’ subsistence use responsibilities. For
example, in Arctic regions, studies have shown that climate-related stressors such as sea ice
retreat and melting permafrost have shifted patterns in animal migration and impacted people’s
ability to reach animals overland or safely on sea ice.138 In addition, changing climate
conditions—such as changes in terrestrial conditions, seasonality, and fire regimes—may affect
populations of wildlife and fish stocks upon which subsistence users customarily have relied.139
Climate change also may result in potentially harmful alterations to a subsistence species’ habitat,
such as fluctuations in water salinity and shifts in vegetation growth. In addition to shifting and
impeding access to subsistence species, climate change may complicate food preservation, a vital
component of subsistence practices for many rural Alaskans.140 For example, melting permafrost
could affect the ability to store food in traditional ice cellars and may leave food more susceptible
to pathogens that can cause food-borne illnesses.
In light of these changes, federal agencies may wish to reconsider or reevaluate their approach to
land management to provide continued access to traditional subsistence resources affected by
climate change. For example, in response to concerns raised by regional advisory councils across
Alaska, the FSB encouraged federal land management agencies to “develop investigative plans
that examine how recent changes in the environment affect fish and wildlife populations.”141 The
FSB also may change harvest stock limits in response to declines in population for certain
species, as it did in 2019 for the Mulchatna caribou herd.142 Some rural Alaskans view changes in
harvest limits as a direct threat to their ability to source food and nutrients, whereas others argue
that additional limits are necessary to ensure the sustainability of future stocks.143 Some
stakeholders also have called for greater federal support for climate resilience programs in Alaska
to address future threats to subsistence practices.144




migratory bird subsistence regulations in the Barrow area. Commenters indicated that they believe enforcement was
‘too aggressive,’…and that the community and the Service should work together to find solutions and not resort to law
enforcement.”). See also DOI and USDA, Federal Subsistence Policy.
138 Kristen M. Green et al., “Climate Change Stressors and Social-Ecological Factors Mediating Access to Subsistence

Resources in Arctic Alaska,” Ecology and Society, vol. 26, no. 4 (2021), at https://doi.org/10.5751/ES-12783-260415.
139 Alaska Department of Fish and Game, “Climate Change Strategy,” November 2010, at

https://www.adfg.alaska.gov/static/lands/ecosystems/pdfs/climatechangestrategy.pdf.
140 E. Barrett Ristroph, “Still Melting: How Climate Change and Subsistence Laws Constrain Alaska Native Village

Adaptation,” Colorado Natural Resources, Energy & Environmental Law Review, vol. 30, no. 2 (2019), pp. 248-249.
141 Letter from Anthony Christianson, Chair, Federal Subsistence Board, to Nancy Morris Lyon, Chair, Bristol Bay

Subsistence Regional Advisory Council, September 16, 2020, at https://www.doi.gov/sites/doi.gov/files/13-board-final-
r4-bbrac-fy19-arr-enclosure-508.pdf.
142 DOI, “Federal Subsistence Board Takes Action on Temporary Wildlife Special Action Requests WSA19-07

(Mulchatna Caribou) and WSA19-08 (Unit 13E Ptarmigan),” November 8, 2019, at https://www.doi.gov/subsistence/
news/general/federal-subsistence-board-takes-action-temporary-wildlife-special-action-0.
143 For perspectives on federal harvest limits, see Jacob Resneck, “Hearing Anxiety over Food Security, Subsistence

Council Recommends Tighter Hunting Rules in Rural Southeast Alaska,” KCAW, October 14, 2021; Isabelle Ross,
“Federal Board Reduces Mulchatna Caribou Harvest Limit,” Alaska Public Media, November 8, 2019.
144 Ibid.




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Conclusion
Fish and wildlife management across the United States requires balancing a variety of uses by
different stakeholders for many different purposes, all against a backdrop of changing populations
and ecosystems as species and landscapes adjust to climate change. In Alaska, such issues are
further complicated by the protection of certain fishing and hunting rights through various
statutory authorities rather than guarantees through treaties. Additional complicating factors in
Alaska include the expansiveness of the landscape (which creates both resource scarcity and
enforcement challenges), the large extent of federal land ownership, and the extent to which
climate change might affect subsistence use resources and practices. Alaska Natives seek to
preserve their ability to sustain themselves through fishing and hunting and their culture, religious
practices, and way of life. Rural non-Alaska Natives may rely on subsistence hunting and fishing
to survive in remote areas with limited access to channels of commerce. Many stakeholders have
interests in preserving threatened and endangered species, marine mammals, migratory birds, and
other species at risk of overuse. Finally, federal and state interests may not always align, and the
split or shared jurisdiction has been a frequent subject of dispute. Congress may consider whether
or to what degree the federal government should play a role in managing use of Alaska’s fish and
wildlife for subsistence purposes and how federal agencies should balance different interests and
priorities when considering subsistence uses.




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8/10/23, 2:56 PM                                              Subsistence in Alaska: Home Page, Alaska Department of Fish and Game


              Alaska Department of Fish and Game

Subsistence in Alaska
                                                    What is Subsistence use?
                                                    Subsistence fishing and subsistence hunting are important for the economies and cultures
                                                    of many families and communities in Alaska. Subsistence uses of wild resources exist
                                                    alongside other important uses of fish and game in Alaska and are especially important for
                                                    most rural families, who depend on subsistence hunting and fishing as sources of nutrition
                                                    and cultural practices. An estimated 36.9 million pounds of wild foods are harvested
                                                    annually by rural subsistence users. Residents of more populated urban areas harvest
                                                    about 13.4 million pounds of wild food under subsistence, personal use, and sport
    When we speak of ‘subsistence,’ we don’t
    just mean using the resource, but using         regulations.
    tribal methods and acting out culture and
    complying with those values, and we do                                                                       Learn more about subsistence in Alaska.
    those things because they are a measure
    of protection for the land and its resources.
    – A Venetie hunter

   Quick Links
        Research
        FAQs
        Regulatory Announcements
        Staff Contacts
        Alaska Boards of Fisheries and Game
        Subsistence in Alaska, A Year 2017 Update




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        Food Security and Wild Resource Harvests in Alaska




   Subsistence Use Information




        Subsistence Fishing

        Subsistence Hunting

        Federal Subsistence




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        Nonsubsistence Use Areas




   Regulations & Permits




        Subsistence & Personal Use Fishing Regulations

        Hunting and Trapping Regulations




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        Permits for Cultural and Subsistence Harvest (Hunting)




   Harvest Data and Reports




        Community Subsistence Information System (CSIS)

        The Technical Papers and Special Publications Series




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              Alaska Department of Fish and Game

ADF&G Home » Licenses & Permits » Subsistence & Personal Use

Subsistence and Personal Use
Fishing Licenses & Permits
All Alaska residents, and ONLY Alaska residents, are eligible to participate in both Subsistence and Personal Use fisheries. Subsistence
and Personal Use fisheries are managed under different regulations. A valid Resident Sport Fishing License is required to participate in
Personal Use fisheries, but is not required to participate in Subsistence fisheries.

       Some Subsistence and Personal Use fisheries require a permit issued by ADF&G and some do not.
       (See the Interior, Southcentral,and Southeast information in the left column for additional information.)
       Some waters are closed to Subsistence fishing and/or Personal Use fishing.
       All Subsistence halibut fisheries are managed by the federal government. For additional information see NOAA's Subsistence
       Halibut Fishing in Alaska Information.
       Some fisheries have season, gear, and bag limit restrictions.
       Always contact the closest regional or area ADF&G offices prior to harvesting fish or shellfish under Subsistence finfish fishery
       regulations or Personal Use fishing regulations.

Permits for the Chitina and Upper Cook Inlet Salmon Personal Use fisheries are now available at the Fish and Game Store.


Online Permits & Reporting
       Online Permits
       Online Harvest Reporting




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Technical Paper No. 313



Subsistence Salmon Harvest Monitoring Report,
Kuskokwim Fisheries Management Area, Alaska,
2004




by
Jim Simon,
Tracie Krauthoefer,
David Koster,
and
David Caylor




                                     August 2007
Alaska Department of Fish and Game                           Division of Subsistence




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                                           Symbols and Abbreviations
The following symbols and abbreviations, and others approved for the Système International d’Unités (SI), are used
without definition in the following reports by the Divisions of Sport Fish and of Commercial Fisheries: Fishery
Manuscripts, Fishery Data Series Reports, Fishery Management Reports, and Special Publications. All others,
including deviations from definitions listed below, are noted in the text at first mention, as well as in the titles or
footnotes of tables, and in figure or figure captions.
Weights and measures (metric)            General                                        Measures (fisheries)
centimeter                       cm      Alaska Administrative                           fork length                       FL
deciliter                        dL      Code                       AAC                  mideye-to-fork                    MEF
gram                             g       all commonly accepted                           mideye-to-tail-fork               METF
hectare                          ha         abbreviations           e.g., Mr., Mrs.,     standard length                   SL
kilogram                         kg                                 AM, PM, etc.         total length                      TL
kilometer                        km      all commonly accepted
liter                            L          professional titles     e.g., Dr., Ph.D.,     Mathematics, statistics
meter                            m                                  R.N., etc.            all standard mathematical
milliliter                       mL      at                         @                     signs, symbols and
millimeter                       mm      compass directions:                              abbreviations
                                                  east              E                     alternate hypothesis             HA
Weights and measures (English)                    north             N                     base of natural logarithm        e
cubic feet per second            ft3/s            south             S                     catch per unit effort            CPUE
foot                             ft               west              W                     coefficient of variation         CV
gallon                           gal     copyright                  ©                     common test statistics           (F, t, χ2, etc.)
inch                             in      corporate suffixes:                              confidence interval              CI
mile                             mi               Company           Co.                   correlation coefficient
nautical mile                    nmi              Corporation       Corp.                 (multiple)                       R
ounce                            oz               Incorporated      Inc.                  correlation coefficient
pound                            lb               Limited           Ltd.                     (simple)                      r
quart                            qt      District of Columbia       D.C.                  covariance                       cov
yard                             yd      et alii (and others)       et al.                degree (angular )
                                         et cetera (and so forth)   etc.                  degrees of freedom               df
Time and temperature                     exempli gratia                                   expected value                   E
day                              d       (for example)              e.g.                  greater than                     >
degrees Celsius                    C     Federal Information                              greater than or equal to         ≥
degrees Fahrenheit                 F        Code                    FIC                   harvest per unit effort          HPUE
degrees kelvin                   K       id est (that is)           i.e.                  less than                        <
hour                             h       latitude or longitude      lat. or long.         less than or equal to            ≤
minute                           min     monetary symbols                                 logarithm (natural)              ln
second                           s       (U.S.)                     $, ¢                  logarithm (base 10)              log
                                         months (tables and                               logarithm (specify base)         log2, etc.
Physics and chemistry                    figures): first three                            minute (angular)                 ‘
all atomic symbols                           letters                Jan,...,Dec           not significant                  NS
alternating current              AC      registered trademark       ®                     null hypothesis                  HO
ampere                           A       trademark                  ™                     percent                          %
calorie                          cal     United States                                    probability                      P
direct current                   DC      (adjective)                U.S.                  probability of a type I error
hertz                            Hz      United States of                                 (rejection of the null
horsepower                       hp         America (noun)          USA                   hypothesis when true)            α
hydrogen ion activity            pH      U.S.C.                     United States         probability of a type II error
                                                                    Code
(negative log of)                                                                         (acceptance of the null
parts per million                ppm     U.S. state                 use two-letter           hypothesis when false)        β
                                                                    abbreviations
parts per thousand               ppt,                               (e.g., AK, WA)        second (angular)                 “
                                 ‰                                                        standard deviation               SD
volts                            V                                                        standard error                   SE
watts                            W                                                        variance
                                                                                              population                   Var
                                                                                              sample                       var




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     SUBSISTENCE SALMON HARVEST MONITORING REPORT,
    KUSKOKWIM FISHERIES MANAGEMENT AREA, ALASKA, 2004

                                                   by

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                               PO Box 115526, Juneau, Alaska, 99811-5526

                                              August 2007

Final Report to the U.S. Fish and Wildlife Service, Office of Subsistence Management, Fisheries
Resource Monitoring Program, to fulfill obligations for Study No. FIS 04-359 under agreement
701814J335.



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The Division of Subsistence Technical Paper Series was established in 1979 and represents the most complete
collection of information about customary and traditional uses of fish and wildlife resources in Alaska. The papers
cover all regions of the state. Some papers were written in response to specific fish and game management issues.
Others provide detailed, basic information on the subsistence uses of particular communities which pertain to a large
number of scientific and policy questions. Technical Paper Series reports are available through the Alaska State
Library and on the Internet: http://www.subsistence.adfg.state.ak.us/




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                                               ABSTRACT
This final report documents subsistence salmon harvest estimates for the Kuskokwim Fisheries Management Area
for the year 2004, on the basis of surveys in 30 communities along the Kuskokwim River and Kuskokwim Bay,
including Nelson Island. Methods used to collect salmon harvest information included household surveys, harvest
calendars and postcard surveys; household surveys in Bethel also gathered information on non-salmon fish
harvested for subsistence purposes. Data include numbers of salmon harvested for subsistence uses, gear used,
numbers of salmon used for dog food, and numbers of salmon retained from commercial catches. Estimates of the
subsistence salmon harvest for communities contacted in the Kuskokwim area in 2004 were 85,086 Chinook salmon
(Oncorhynchus tshawytscha), 55,575 chum salmon (O. keta), 34,892 sockeye salmon (O. nerka), and 39,406 coho
salmon (O. kisutch), for a total of 214,959 salmon. These harvest estimates were within, or were higher than, the
amounts that the Alaska Board of Fisheries considered reasonably necessary to provide for customary and traditional
uses. Compared to 2003 harvest estimates, harvests increased, with the exception of sockeye salmon, demonstrating
again the importance of salmon for subsistence in this area. In Bethel, non-salmon fish comprised about 18% of
total fish harvested for subsistence. This salmon harvest monitoring research continues to be critical for fisheries
managers for their use in planning for adequate salmon escapement and providing continued uses of salmon for
subsistence purposes.
Key words: Kuskokwim River, Kuskokwim Bay, Yukon-Kuskokwim Delta, Bethel, subsistence, salmon harvest
           monitoring, Chinook, Oncorhynchus tshawytscha, coho, Oncorhynchus kisutch, pink, Oncorhynchus
           gorbuscha, chum, Oncorhynchus keta, sockeye, Oncorhynchus nerka.

                                           INTRODUCTION
This report presents the results of the subsistence salmon harvest monitoring program in the
Kuskokwim Fisheries Management Area for the 2004 salmon fishing season, following the
methods established by Alaska Department of Fish and Game (ADF&G), Division of
Subsistence (Subsistence) in 1988 and 1989 (Francisco et al. 1989; Walker and Coffing 1993).
The Kuskokwim area (Figure 1) subsistence salmon fishery is one of the largest in the state in
terms of amounts harvested. From June through October, the daily activities of many
Kuskokwim area households revolve around harvesting, processing, and preserving salmon for
“customary and traditional uses,” or subsistence. The movement of families from permanent
winter residences to summer fish camps situated along rivers and sloughs continues to be very
important in annual subsistence harvest efforts.
The significance of salmon and other fish harvested and used for subsistence in this area is well
documented by ADF&G Subsistence studies in the region. They indicate that fish contribute
68% to 85% of the total pounds of fish and wildlife harvested in a community; salmon contribute
49% to 53% of the total annual wild food harvest. The harvest of salmon for subsistence ranges
from 241 lbs usable weight per capita in some communities (e.g., Nunapitchuk, 1983) to 446 lbs
(e.g., Kwethluk, 1986) and 649 lbs (e.g., Akiachak, 1998) per capita in other Kuskokwim River
communities (e.g., Andrews 1989, 1994; Coffing 1991; Coffing et al. 2001; see also Community
Subsistence Information System [CSIS] [ADF&G 2007]). Kuskokwim area communities are
heavily reliant upon the annual returns of salmon, not only for basic nutrition, but also for
maintenance of cultural identity and cultural values, in addition to economic opportunities for
commercial sales (e.g., Andrews 1989:154; Andrews and Coffing 1986; Barker 1993; Coffing
1991; Fienup-Riordan 1990:184ff, 1994:120, 123; Himmelheber 1987:32; Oswalt 1963a, 1963b,
1990; Pete 1993; Senecal-Albrecht 1990, 1998; Walker and Coffing 1993; Wolfe et al. 1984).
The significance of subsistence salmon fisheries to residents of the Kuskokwim Management
Area becomes much more obvious when compared to estimates of U.S. per capita salmon


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consumption. For example, Professor Gunnar Knapp of the University of Alaska’s Institute of
Social and Economic Research, has estimated U.S. salmon consumption in 1990 at less than 1 lb
per person, increasing during the 1990s to almost 2 lbs per person in 1999 (Knapp 2000). The
U.S. National Marine Fisheries Service estimated the U.S. consumption of fishery products (not
just salmon) at 17 lbs of edible meat per person in 2004 (U.S. National Marine Fisheries Service
2005).
Between 1989 and 2003, an average of 1,443 households annually subsistence fished for salmon,
representing an average of 39% of the estimated total households in the Kuskokwim
Management Area. In 2004, an estimated 1,503 households subsistence fished for salmon (Table
1). Many people not directly involved in harvesting salmon assisted family and friends with
cutting, drying, smoking, and other associated preservation activities, such as salting, canning,
and freezing. Annual household subsistence surveys, like the 2004 harvest survey reported in
this publication, gather summary harvest data on Chinook salmon (Oncorhynchus tshawytscha),
chum salmon (O. keta), sockeye salmon (O. nerka), and coho salmon (O. kisutch), including
numbers of fish of each species harvested and types of fishing gear. Because of the relatively
low harvest of pink salmon (O. gorbuscha), data on this species have not been collected (Walker
and Coffing 1993:58).
The results of these surveys are important for state and federal fisheries management to plan for
adequate salmon escapement and continued uses of salmon for subsistence purposes. In those
streams of the Kuskokwim Management Area in which no commercial fishing occurs,
subsistence salmon harvest estimates provide information on the exploitation of salmon runs to
those particular streams. Without estimates of subsistence salmon harvests, fishery managers are
not able to estimate escapement for those streams.
Data on non-salmon fish harvests have been collected intermittently in various parts of the
Kuskokwim Management Area, but are not a standard component of the annual harvest
monitoring program. For example, surveys on subsistence-caught Pacific herring (Clupea
pallasi) were conducted in the mid-1980s through the early 1990s in the Nelson Island region
(Pete 1984, 1989, 1991a, 1991b, 1992). Non-salmon fish harvest estimates also have been
provided for communities such as Kwethluk (Coffing et al. 2001), Nunapitchuk (Andrews 1989,
1994; Coffing 1991), Akiachak, Nikolai, McGrath, Telida, and Takotna (Stokes 1985), and
Goodnews Bay and Quinhagak (Wolfe et al. 1984) from community baseline surveys conducted
in the Kuskokwim region in the 1980s and 1990s. More recently, studies have documented non-
salmon fish harvests by residents of Lake Minchumina and Nikolai (Holen et al. 2006), Aniak
(Coffing et al. 2003), Bethel (Simon et al. 2007), and both Aniak and Chuathbaluk (Krauthoefer
et al. 2007). Some additional information was collected in 2004 on subsistence harvests of
freshwater and anadromous non-salmon fish by residents of Bethel.
Information on specific salmon harvest locations has not been annually collected, although
ADF&G Subsistence research conducted largely in the 1980s documented harvest location
information for a number of Kuskokwim area communities (e.g., Andrews 1989; Brelsford et al.
1987; Coffing 1991; Coffing et al. 2001, 2003; Charnley 1982, 1984; Kari 1983, 1985; Pennoyer
et al. 1965; Pete 1984, 1989, 1991a, 1991b, 1992; Stickney 1981; Stokes 1982, 1985; Williams
et al. 2005). Rather, the annual Kuskokwim salmon harvest monitoring program focused on
estimating total community harvests, with some recent exceptions. For example, limited
information on harvest locations and fishing gear has been collected from Aniak and Bethel
fishers in recent years (cf. Coffing et al. 2003; Krauthoefer et al. 2007). Despite the absence of

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data on specific harvest locations, general harvest areas regularly used by residents of various
Kuskokwim area communities are characterized below to provide a context for patterns of
subsistence salmon harvests in the region.
THE STUDY AREA
There are 38 communities in the Kuskokwim Management Area. In 2004, the total number of
estimated households in these 38 communities was approximately 4,670 (Table 1). Most (77%)
are situated within the Kuskokwim River drainage.
Residents in Bethel, the largest community in the region with approximately 1,874 households in
2004, typically harvested salmon from the Kuskokwim River.
Residents of the northern Kuskokwim Bay communities of Kwigillingok, Kongiganak, and
Kipnuk, which together had roughly 354 households in 2004, harvested salmon primarily from
the Kuskokwim River, but may have also harvested salmon from coastal areas and local
tributaries (Himmelheber 1987:7; Stickney 1984:60-61; Walker and Coffing 1993:1).
Residents of Quinhagak, Goodnews Bay, and Platinum, located along the southern shore of
Kuskokwim Bay (approximately 227 households in 2004), harvested salmon primarily from the
drainages of the Kanektok River, Arolik River, and Goodnews River (e.g., Wolfe et al.
1984:321-322; Walker and Coffing 1993:1).
The Bering Sea coastal communities of Newtok, Tununak, Toksook Bay, Nightmute, and
Chefornak (composed of approximately 435 households in 2004), and the village of Mekoryuk
(79 households in 2004), located on Nunivak Island, harvested salmon from local rivers and
coastal waters, which likely included coastal stocks as well as mixed stocks that were not bound
for the Kuskokwim River (e.g., Fienup-Riordan 1983:112; Walker and Coffing 1993:1).
BACKGROUND: KUSKOKWIM AREA SUBSISTENCE SALMON HARVEST
MONITORING
Program History
1960-1987
Data on the subsistence harvest of salmon from the Kuskokwim Management Area have been
collected by ADF&G annually since 1960 using a variety of methods. The Division of
Commercial Fisheries (CF) began conducting subsistence salmon harvest surveys among
Kuskokwim River fishers in the early 1960s; surveys were subsequently broadened to include
the southern Kuskokwim Bay communities of Quinhagak in 1967 and Goodnews Bay and
Platinum in 1979. The Division of Commercial Fisheries first developed harvest estimates
through “smokehouse counts” conducted immediately following the Chinook salmon run (e.g.,
Jonrowe et al. 1979). For example, the CF 1969 “Annual Management Report” presented a
discussion of how subsistence salmon harvest was documented along the Kuskokwim River:

   The annual survey of the Kuskokwim River subsistence fishery was initiated in 1960.
   During July and August a Department crew surveys all villages and fish camps from Eek
   to the fish camps at Swift River belonging to residents of Stony River . . . catch calendars
   for May through September are mailed to all known families who fish for subsistence
   purposes in the Kuskokwim River . . . survey methods have changed somewhat over the
   past few years and the present method, used since 1968, is thought to be the most


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    accurate and comprehensive means of coverage of the subsistence fishery (Regnart et al.
    1970:25).
Information was obtained from families who were known to fish through harvest calendars and
household interviews conducted immediately after the Chinook salmon run; the coho salmon
harvest was incompletely documented. Prior to 1985, subsistence salmon catches were lumped
into one of two categories: “king salmon” and “small salmon” (e.g., Walker and Coffing
1993:49).
The total number of fishing households in a particular community was estimated by comparing
the average harvests of households known to fish with the estimated total number of fishing
households (see discussion in Walker and Coffing 1993:35). However, during 1983, 1984, 1986,
and 1987, funding was insufficient to conduct surveys in all Kuskokwim Management Area
communities; instead, subsets of villages were sampled and then these data were expanded to
produce an estimate of the salmon harvests by other Kuskokwim area communities. For
example, in 1987, due to budget shortfalls, CF researchers were able to interview only those
Kuskokwim River drainage fishing families who were available in the first two weeks of August
(425 households). These results were expanded to produce an estimate of the total Chinook
salmon catch based on previous years’ harvests (Francisco et al. 1988: 28). Therefore, while
subsistence salmon harvest information from 1960 to 1988 is available, the data are not
necessarily comparable from year to year because the statistical methods used to expand the
harvest data and produce total harvest estimates of Kuskokwim area salmon were not fully
documented (Andrews and Coffing 1986; Walker and Coffing 1993:5).
1988-2003
The Division of Subsistence assumed responsibility for the annual subsistence salmon harvest
monitoring program in the Kuskokwim Management Area in 1988, under an agreement with the
Division of Commercial Fisheries, and has collected and analyzed the data since then. Survey
methods were refined during the 1988 field season through the development of a comprehensive
community household database, as described in the 1988 “Annual Management Report for the
Kuskokwim Management Area” (Francisco et al. 1989:7):

   This database identified households residing in the study communities and was developed
   from three sources. First, households identified as “fishing families” in 1987 by the
   Division of Commercial Fisheries were added to the database. A fishing family
   represented at least one household unit, but more in some cases. These households were
   the basis of sampling and estimation of subsistence salmon harvests for the Kuskokwim
   Area during recent years. Second, any household which had returned Kuskokwim River
   subsistence salmon catch calendars between 1981 and 1986 was also added. Some
   attempt was made to eliminate obvious duplications and to associate households with the
   community in which they were last known to have lived. Finally, researchers within the
   Division of Subsistence provided community census lists which were used during the
   course of the surveys conducted during the last few years (Francisco et al. 1989:7).
Subsistence salmon harvests are estimated based on the total number of households in a
community, not just the number of fishing households as in the previous method. Not only are
households that “usually fish” tracked on an annual basis, but households that “usually do not
fish” are also tracked annually as well as sampled during postseason harvest monitoring
activities. This stratified method of estimating total community harvests results in more

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complete data for all salmon species harvested for most communities in the Kuskokwim
Management Area (see discussion in the “Methods” section, below). Walker and Coffing (1993)
compared this new method with the previous method and found that the earlier method
significantly overestimated subsistence salmon harvests, due likely to the overemphasis on
fishing households in the reporting of harvest information. While the degree of reliability was
greater for some salmon species harvested and for certain fishing areas, levels of confidence for
estimated total salmon harvests in 1989 were within 7% of the estimated totals (Walker and
Coffing 1993:58; see Walker and Coffing 1993 for more discussion on this methodological
analysis).
In 1989, the postseason survey was refined further to produce more accurate estimates of the
total number of the different salmon species harvested for subsistence uses (e.g., Francisco et al.
1990:5; Walker and Coffing 1993). The timing of the postseason household surveys shifted
from July and August to October and November, after the coho salmon run, which is the last
salmon run of the season. Subsistence and CF “determined that the later survey timing was
necessary to get more complete catch data, particularly on coho salmon” (Francisco et al.
1990:5). Harvest monitoring program methods are described in more detail below.
While Subsistence assumed responsibility in 1988 for operating the Kuskokwim postseason
subsistence salmon harvest monitoring program, CF continued to provide funding support to
operate the program due to the importance of the data for salmon management. Beginning July
1, 2003, however, CF eliminated funding support for the survey program as a result of budget
reductions. Subsistence continued the program for the 2003 and 2004 salmon fishing seasons
primarily with funds from U. S. Fish and Wildlife (FWS) Fisheries Resource Monitoring
Program (FRMP) as well as with special, one-year funding from the Arctic-Yukon-Kuskokwim
Sustainable Salmon Initiative (AYK SSI).
Regulatory Context
Under federal regulations, individuals must be Kuskokwim-area residents to participate in the
Kuskokwim subsistence salmon fishery. Under state regulations, fishers must be Alaskan
residents for the preceding 12 months before harvesting salmon for subsistence use. Prior to
1990, there were additional restrictions related to the state’s rural priority for subsistence, which
subsequently was determined by the Alaska Supreme Court to be unconstitutional (e.g.,
Francisco et al. 1989:5). As a result, the federal government established the federal subsistence
program to provide continuing subsistence uses for qualified rural residents on applicable federal
public lands and in applicable federal public waters. Most subsistence salmon fishers in the
region continue to be primarily Kuskokwim area residents, but some who are domiciled in other
parts of Alaska return annually to assist family or friends harvest or process salmon.
Licenses, Permits, and Harvest Limits
Licenses and permits have never been required under state or federal subsistence salmon fishing
regulations in the Kuskokwim area. However, there are restrictions on the methods and means
of salmon harvest, and, in a few cases, there are also seasonal bag limits. Under state
regulations, for example, from June 1 through August 31, hook and line subsistence fishers
upstream of Doestock Creek on the Aniak River are limited to a combined daily bag limit of six
fish. No more than three of these may be salmon, and no more than two of those may be
Chinook salmon; further, neither chum salmon nor rainbow trout (O. mykiss) may be retained
(5 AAC 01.295). Otherwise, there are no restrictions on the number of salmon that may be

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harvested by individual fishers or households for subsistence uses in the Kuskokwim
Management Area. In the absence of permits that track harvest data, subsistence salmon harvest
information is collected through other harvest monitoring methods. Community and household
participation in the harvest monitoring effort continues to be voluntary.
Fishing Gear
In 2004, under both state and federal regulations, salmon could be harvested for subsistence use
by set and drift gillnets, beach seines, fish wheels, and hook and line attached to a rod or pole, or
“rod and reel.” Spears could be used only in the drainages of the Holitna, Kanektok, Arolik, and
Goodnews rivers. A set or drift gillnet could not exceed a total length of 50 fathoms (300 feet).
Gillnets used for harvesting salmon could have any size mesh. However, nets with 6-inch or
smaller mesh could not be more than 45 meshes deep, and nets with mesh greater than 6 inches
could not be more than 35 meshes deep. Fishers were required to have their names and
addresses attached to their gillnets and fish wheels.
Subsistence Salmon Fishing Schedule
Following declines in Chinook and chum salmon returns to the Kuskokwim River beginning in
1997, and, in anticipation of poor returns in 2001, the Alaska Board of Fisheries (BOF)
designated both species as stocks of concern (specifically, “yield concerns”) under the “Policy
for the Management of Sustainable Salmon Fisheries” (5 AAC 39.222) in September 2000. To
guide the department in the management of these stocks of concern, the Board replaced the
“Kuskokwim River Salmon Management Plan” in January 2001 with the “Kuskokwim River
Salmon Rebuilding Management Plan” (Rebuilding Plan) (5 AAC 07.365). Under the
Rebuilding Plan, Kuskokwim River salmon stocks are to be managed conservatively, especially
for the months of June and July. The Federal Subsistence Board (FSB) adopted this designation
and Rebuilding Plan in 2001.
The Rebuilding Plan provides direction for implementing a subsistence fishing schedule, which
allows salmon net (with mesh size greater than 4 inches) and fish wheel fisheries to operate for
four consecutive days per week in June and July, as announced by emergency order (EO), and
implemented in association with salmon run-timing in a step-wise progression upstream. The
subsistence fishing schedule is based on run strength, and is regulated by EO to achieve
escapement goals. Once escapement goals are projected to be met for Chinook and chum
salmon, subsistence fishing can be allowed seven days per week.
State and federal fisheries representatives polled communities throughout the Kuskokwim River
drainage in 2001 for guidance on which three days would be the most desirable for the
subsistence fishing closures. Based on community response, the recommendation of the
Kuskokwim River Salmon Management Working Group (Working Group) was to close the
Kuskokwim River to subsistence net and fish wheel fisheries Sunday, Monday, and Tuesday.
Subsistence fishing with a hook and line attached to a rod or pole, or “rod and reel,” was not
included in this schedule, nor were Kuskokwim Bay subsistence salmon fisheries. It is important
to note, however, that subsistence salmon fishing prior to 2001 also adhered to a schedule: there
were subsistence closures 16 hours before, 16 hours during, and 6 hours after commercial fishing
periods (e.g., ADF&G 2001:46; ADF&G 2002:50).




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2004 Subsistence Salmon Fishing Season
In 2004, the Kuskokwim River subsistence salmon fishing schedule began June 6 in District 1
(the lower Kuskokwim River), which extended from the mouth of the Kuskokwim River
upstream to Bogus Creek, which is 9 miles upstream of Tuluksak, and which included the Eek,
Kwethluk, Kisaralik, Kasigluk, and Tuluksak salmon spawning tributaries (Figure 1). On June
13, the schedule was expanded to District 2, which included all waters downstream of
Chuathbaluk. There were no subsistence salmon fishing restrictions upstream of Chuathbaluk in
2004.
During the subsistence salmon fishing closures on the lower Kuskokwim River, fishing for fish
other than salmon was allowed only with hook and line gear and with gillnets that had 4-inch or
smaller mesh and that were 60 feet or less in length. However, subsistence salmon fishing
regulations did not apply to fishing for fish other than salmon in non-salmon tributaries 100
yards upstream from their confluences with the Kuskokwim River. Non-salmon tributaries
include the Gweek, Johnson, Kinak, Kialik, and Tagayarak rivers (ADF&G 2004).
Based on a recommendation from the Working Group, state and federal managers established a
seven-day-per-week subsistence fishing schedule on June 20, when salmon run strength was
anticipated to be large enough to meet escapement goals.
Subsistence Closures During the Commercial Fishery
In January 2004, the Alaska Board of Fisheries granted ADF&G discretionary EO authority to
close the subsistence salmon fishery before and after commercial salmon fishing periods in
Districts 1 and 2. Prior to this action, areas within commercial salmon fishing districts were
closed to subsistence salmon net and fish wheel gear 16 hours before, 16 hours during, and 6
hours after commercial fishing periods as described in 5 AAC 01.260. Many fishers
participating in the Kuskokwim commercial fisheries were area residents who also subsistence
fished. The intent of these closures was to discourage illegal fishing activity, such as the sale of
subsistence-caught salmon in the commercial fishery.
On June 28, 2004, the Department issued an EO that decreased the duration of subsistence
closures associated with commercial fishing in District 1 to 6 hours before, 6 hours during, and 3
hours after commercial fishing periods. The purpose of this EO was to allow adequate
opportunity for fishers to subsistence fish during the commercial fishing season. The specific
waters closed to subsistence fishing varied district to district.
In 2004, there were 26 commercial fishing periods in District 1. Four periods occurred between
June 30 and July 7, during which fishers harvested Chinook salmon, chum salmon, and sockeye
salmon. Subsistence fishing was subject to the June 28, 2004, EO (see above). Twenty-two
commercial periods targeting coho salmon occurred in District 1 between July 28 and September
8. There were also weekly scheduled commercial periods and associated subsistence fishing
closures in both District 4 (Quinhagak) and District 5 (Goodnews Bay and Platinum) from June
through September.

                               PROJECT OBJECTIVES
This study addressed the following research objectives:
1. Determine the total number of households in each community within the Kuskokwim
   Fisheries Management Area.

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2. Identify the number of households that harvested salmon as well as the number of households
   that did not harvest salmon for subsistence use.
3. Estimate the number of Chinook salmon, chum salmon, sockeye salmon, and coho salmon
   harvested for subsistence use by each community.
4. In Bethel and Aniak, estimate the amount and species of non-salmon fish harvested.
5. Update the community household lists so that subsistence fishing households can be mailed
   subsistence salmon harvest calendars the following season.
6. Identify the types of salmon fishing gear used by residents.
7. In Bethel and Aniak, identify harvest locations used when fishing with hook and line gear
   through the ice and also in open water.
Five of the seven objectives were met. However, Aniak non-salmon fish harvest information
was not collected and harvest locations for hook and line gear were not collected in Bethel or
Aniak. Reasons for this are addressed in the “Discussion” section of this report.

                     HARVEST MONITORING METHODS
The Division of Subsistence conducts an annual postseason harvest monitoring program to
document the majority of Kuskokwim River subsistence salmon harvests using the individual
household as the primary unit of data collection (see “Background” discussion, above).
Community subsistence harvest monitoring research uses a household survey instrument as the
primary means of collecting data, although some data are also gathered through harvest calendars
and postcard surveys. Households in the Kuskokwim Management Area are assigned a
“household identification number” (HHID) to aid in tracking an individual household’s
subsistence harvest over time. Household level data remain confidential, and household
participation is voluntary. Household data are analyzed to develop estimates of subsistence
salmon harvests by each participating community in the Kuskokwim Management Area. If no
households are contacted in a community, then a community estimate is not developed.
Harvest information collected from postseason surveys is compared to harvest calendars. If a
household was surveyed and also returned a harvest calendar, the reported harvest in the
postseason survey is used for estimating total harvest. Where double information exists
(postseason survey and harvest calendar), harvest calendars provide harvest timing data only. If
a harvest calendar was returned for a household not surveyed, the calendar data are used for
estimating household harvest. If a calendar could not be matched to a household, only the
harvest timing information is used. In the rare instance that data are collected on both calendars
and postcard surveys, project analysts manually assess whether this information can be
combined, or whether one source of information should supersede the other (Walker in prep).
The development of community subsistence harvest estimates for the Kuskokwim Management
Area relies upon a stratified sampling design which categorizes a community’s households into
two strata: “usually fish” and “usually do not fish.” This is done to improve precision by
ensuring that known fishing households are contacted without violating the “random sample”
assumption (Walker and Coffing 1993:12).
Stratification is updated annually. Based on knowledge of a household’s fishing activities from
previous years’ surveys, survey technicians, in consultation with community representatives,


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place households in the “usually fish” stratum immediately if they have fished in the most recent
survey year. Households are placed in the “usually do not fish” stratum immediately if they had
not fished during each of the most recent three consecutive survey years. Households that have
not fished in two of the past three years are placed in the “usually do not fish” stratum unless
additional household harvest history implies the household is most appropriately assigned to the
“usually fish” stratum. Households that are surveyed for the first time are asked to identify if
their household usually fishes or does not fish for subsistence salmon, and are placed accordingly
in the appropriate stratum (Walker in prep).
The harvest information collected from households allows researchers to calculate for particular
communities: 1) the mean household harvest for each species of salmon, and 2) the total
community harvest estimate of each species of salmon as well as for all salmon combined. If no
households are contacted in a particular community, then no community estimate is developed.
The mean household harvest is calculated by adding the combined reported harvests of a
particular resource by all the surveyed households, R, in a particular stratum, k, and dividing that
total by the number of surveyed households, n, in each stratum, as expressed by the following
formula:

                                                 ∑R                                          (1)
                                              h = n
                                                                k
                                                 k
                                                            k



Estimates are computed independently for each stratum and then summed to develop a single
community subsistence salmon harvest estimate. Total community estimates, E, are extrapolated
by the application of weighted means: mean household harvest calculations are weighted based
upon the size of the samples, n (e.g., Cochran 1977), as illustrated in the following formula:
                                             2 ⎛⎛ N         ⎞            ⎞
                                     Ei, j ∑     ⎜ ⎜        ⎟ R          ⎟
                                                       i ,k
                                          =        ⎜        ⎟
                                                 ⎜   n
                                            k =1 ⎝ ⎝ i , k ⎠
                                                                i , j ,k ⎟
                                                                                              (2)
                                                                         ⎠

where j represents species of salmon harvested by a particular community, I; and E is the
estimated harvest; R represents the reported harvest; N represents the total number of households
in the stratum; n equals the number of sampled households in the stratum; and k represents each
of the two strata, “usually fish” and “usually do not fish” households (see also Brown et al.
2005:211, where these methods were previously identified). The estimated total community
harvest of all species is a summation of each individual species.
When applying this method of expansion, the project information manager requires that the
sample size be at least 30 households or be greater than 50% of the total number of households
assigned to the stratum. Subsistence harvest data are not normally distributed; as a result, these
rules are applied to ensure that sample sizes are large enough to assume the data approximate a
normal distribution. This assumption allows computation of a confidence interval for the
estimate. When the sample size is not large enough to compute a confidence interval, no
expansion is done because there is no measure for its accuracy; as a result, only reported harvests




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are presented in these cases. The rule of 30 households comes from the Central Limit Theorem. 1
In cases where the community is too small for the Central Limit Theorem to apply, the rule of
50% is applied. In study years subsequent to the development of this analysis methodology
(Walker and Coffing 1993), the 30 household rule was presumably created based upon known
community characteristics. The Division of Subsistence intends to revisit the application of this
rule as part of a larger departmental review of subsistence fisheries harvest monitoring programs.
The step-by-step process by which subsistence salmon harvest estimates are produced can be
recapitulated as follows:
1. Each species of salmon harvested is computed separately by stratum and community.
2. The total number of households sampled in the stratum is verified to be either greater than
   30, or the sample is verified to have more than 50% of the households in the stratum.
3. If step 2 is verified, the total number of households in a stratum is multiplied by the average
   harvest of that stratum. If step 2 is not verified, then the number of sampled households is
   instead multiplied by the average. This is done for each stratum in a community, and for
   each community for which harvest data are obtained.
4. The two stratum estimates are summed for each species and for each community.
5. The individual species estimates are summed in order to arrive at the total salmon harvest
   estimate for each community.
6. If no household harvest data were obtained for a community, then a community estimate is
   not developed, since total area estimated harvest amounts do not include communities
   lacking household harvest data.
The principal assumption associated with extrapolating harvest estimates is that the portion of
the community not sampled has the same distribution of successfully harvesting households as
the portion of the community that was sampled. The reason this assumption is proven is that
researchers are careful to ensure that households that participated in group harvest activities have
their portion of the harvest counted separately. The missing values associated with unsurveyed
households are replaced with the sample mean of the stratum to which they belong. This allows
the sample harvest to be expanded to estimate the total harvest of the entire community. The
estimate is always calculated after the data have been summed to the stratum level. Using the
standard deviation for each stratum, it is also possible to develop confidence intervals and
measures of variance. If a confidence interval is required for the entire community, the variance
of each stratum is calculated using the formula below.
                                                                              2
                                            1 2                     S
                                       Vi= N 2 ∑    N k ( N k − nk ) k
                                                                     nk
                                                                                              (3)
                                             i k =1



Where Vi is the variance for community i; Ni is the total number of households in the
community; Nk is the total number of households in stratum k; nk is the sampled households in
stratum k; and Sk2 is the variance for stratum k.


1
    Further details about the Central Limit Theorem may be found in Box et al. 1978.


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HARVEST CALENDARS
In May 2004, subsistence salmon harvest calendars were mailed to all Kuskokwim Management
Area households that had been identified as “usually fish” and to those that fished the previous
season (see Appendix A). This included 2,199 households; 275 returned their calendars, which
represented a return rate of 13% (Table 1).
Three similar harvest calendars were designed to record the daily catches of each salmon species
harvested for subsistence. Communities along the Bering Sea coast; north Kuskokwim Bay; and
lower, middle, and upper Kuskokwim River areas (as far upstream as Stony River) received one
edition of the calendar. A second edition was sent to the remaining households in the upper
Kuskokwim River drainage. The third edition was sent to households in Quinhagak, Goodnews
Bay, and Platinum. The calendars captured information on species availability, salmon run
timing, and seasonal timing of subsistence fishing activities. They were mailed to post office
boxes when addresses were available; otherwise, calendars were sent via general delivery to the
post office clerk for distribution. Each calendar was postage-paid and return-addressed to the
Division of Subsistence office in Bethel. Completed subsistence salmon harvest calendars that
had not been returned to the department, if available, were collected during household
interviews.
HOUSEHOLD SURVEYS: INTERVIEWS
The primary method of collecting subsistence salmon harvest information in 2004 was
postseason household interviews (see Appendix B). In 2004, 2,297 Kuskokwim area households
were surveyed; Bethel households (956) were 42% of the interviewed households (Table 1).
Surveyors traveled to communities and conducted house-to-house interviews with residents
about their fishing efforts. Kuskokwim communities were grouped into four categories based on
geographic location: 1) lower Kuskokwim, 2) middle Kuskokwim, 3) upper Kuskokwim, and 4)
Bering Sea coast. Color-coded forms were used to survey the majority of the communities.
Except for local names used for the salmon species, identical survey questions were asked in
each region. This survey also asked questions to clarify gear types used for subsistence
harvesting and the salmon harvest from each gear type. Bethel surveys also included questions
about subsistence harvest of non-salmon species (see Appendix C).
In 2004, Subsistence researchers and technicians conducted house-to-house interviews in 30
communities (Table 2). As has been true since 1991, Kasigluk, along with Kipnuk and
Kwigillingok, did not consent to participate in the survey program in 2004 (Table 3). However,
for the first time in the history of the program, household salmon surveys were conducted in the
Nelson Island community of Toksook Bay. This community was added in order to begin to
develop baseline salmon harvest information from Nelson Island and the central Bering Sea
region.
The Division of Subsistence implemented the postseason subsistence salmon harvest monitoring
program from 1988 to 1998 without the involvement of other Kuskokwim area organizations.
Then, in 1999, the Orutsararmiut Native Council (ONC) began surveying Bethel households in
partnership with ADF&G, using federal funding administered through the Alaska Department of
Community and Regional Affairs (Burkey et al. 2000). Since then, ONC has continued Bethel
household surveys with funding received from the FRMP (e.g., Study No. FIS 00-009, Study No.
FIS 01-024, Study No. FIS 04-359). The Kuskokwim Native Association (KNA) began


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conducting annual household harvest surveys in Aniak in 2002 (Coffing et al. 2003; Ward et al.
2003), and has continued to do so since, again in partnership with ADF&G and with funding
received from FRMP (e.g., Study No. FIS 02-036, Study No. FIS 04-359). Subsistence staff
continues to conduct the household surveys in most Kuskokwim Management Area communities
(other than the communities of Bethel and Aniak). In recent years, this annual harvest
monitoring program has been largely funded by FRMP.
Orutsararmiut Native Council hired two survey technicians to conduct house-to-house surveys in
Bethel in 2004. Similarly, KNA received funding through this project to hire technicians for
postseason surveys in Aniak. Subsistence trained the technicians for both projects and oversaw
their survey efforts. Data collected by both ONC and KNA followed methods and protocols
developed by Subsistence. Project funds received through the FRMP were, and continue to be
instrumental in supporting such capacity-building efforts.
In 2004, interviews in the Kuskokwim Management Area communities occurred over two
months, beginning in early October. By this time, most residents had completed salmon fishing
for the season and most hunters had returned from fall moose and caribou hunts. Communities
in which residents usually harvest salmon through October were surveyed in November. Prior to
beginning community surveys, efforts were made to inform and prepare residents for the arrival
of surveyors. This was done weeks or days in advance through letters to city, tribal, or
traditional council offices; radio announcements; posters placed in public buildings; and
telephone calls to community officials. Prior to traveling to each community, surveyors
identified households that had already returned their salmon harvest calendars.
Upon arrival in a community, the surveyors introduced themselves to local community officials
and outlined their task. Household checklists were used to identify residents to contact for
surveys. Each checklist included all known households in the community, identified those
households that were reported to have subsistence fished for salmon during the previous year
(2003), and indicated which households were mailed 2004 harvest calendars. Knowledgeable
individuals in the community helped to update the community household list, identified
households that “usually fish” and households that “usually do not fish,” and households that
subsistence fished for salmon in 2004. Following review of the household list with community
officials, surveyors began the door-to-door survey.
Attempts were made to contact all households in each community, and, in particular, those
households identified as “usually fish” or known to have fished for salmon for subsistence use
during 2004. Time spent on community surveys varied from one-half to two days per
community, depending on community size, with the exception of Bethel, the largest community
with the largest number of subsistence salmon fishers in the area.
In Bethel, house-to-house interviews were conducted over an 11-week period. Unlike other
communities, Bethel had no agency or organization that could provide a current household list.
While Subsistence often uses Alaska Permanent Fund Dividend (PFD) applications to generate
household lists, these data are not sufficient to provide a household list for Bethel due to the high
level of transience in that community: 35% between 2001 and 2002, for example (Walker in
prep:13). A map of the community, originally developed by the Bethel Fire Department, was
used to identify household street addresses and to organize survey efforts according to housing
subdivisions. All Bethel households identified through previous surveys, as well as those that
had returned harvest calendars, were categorized by subdivision. Each of the two surveyors was


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then assigned responsibility for specific subdivisions. As with the smaller communities, an effort
was made to contact every occupied household in Bethel.
POSTCARD SURVEYS
The third method of collecting subsistence salmon harvest information was postcard surveys that
collected data on how many salmon of each species were caught for subsistence, the type of
fishing gear used, and each household’s qualitative evaluation of the subsistence fishery (see
Appendix D). The return portion of the postcard was postage-paid and addressed to the Division
of Subsistence in Bethel. Postcard surveys were the primary method for obtaining harvest data
from households in Newtok, Tununak, Chefornak, and Nightmute, as well as from households in
Kuskokwim area communities where there was no face-to-face contact. In 2004, 265 households
in the region were mailed postcard surveys; 81 were returned, which represented a good return
rate (31%) compared with previous years (Table 1). No postcards were distributed in Bethel or
Aniak in 2004 because household surveyors were conducting face-to-face interviews.

                                2004 SAMPLING SUMMARY
COMMUNITIES AND HOUSEHOLDS CONTACTED
At least some form of contact was made in 2004 in the 38 communities located in the
Kuskokwim Management Area, although this contact was limited to a small number of returned
postcards for a number of communities (Table 1). During the 15-year period from 1989 to 2003,
the average number of Kuskokwim area communities contacted was 34, and ranged from a low
of 29 communities contacted in 1995 to a high of 38 in 2004, which is the only year since 1989
when some form of contact occurred with each Kuskokwim Management Area community
(Table 2).
Of an estimated 4,670 households in the Kuskokwim Management Area in 2004, contact was
made with a little more than one-half (2,432 households, or 52%), through a combination of
household surveys, returned calendars and/or postcards (Table 1). 2 Relative to household
contact rates during the previous 15 years of the monitoring program, the number of households
contacted during the 2004 survey season was typical: an average of 2,087 Kuskokwim area
households were contacted annually between 1989 and 2003, representing an average contact
rate of 56% during this 15-year period (Table 2).
Of the 2,432 households contacted in 2004, harvest data were obtained from 2,396 households,
which included those households that fished and those that did not fish, which represented a high
degree of cooperation from community residents. The remaining 36 contacted households did
not provide any fishing or harvest data, returning only address and household demographic
information. Based on community and household participation in the survey, 1,503, or nearly
one-third (32%), of total estimated Kuskokwim area households were identified as having
subsistence fished for salmon in 2004 (Table 1), which is consistent with the 15-year annual
average of 1,443 households estimated to have subsistence fished in the Kuskokwim



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 In many instances, households that returned calendars were also surveyed in person. However, the numbers under
“Total Contacts” in Table 1 are not a summation of the total number of calendars returned, postcards returned, and
households surveyed since a household is only counted once as a contact.


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Management Area, or an average of 39% of area households annually from 1989 to 2003 (Table
2).
Harvest Calendars
Thirteen percent (275) of the 2,199 subsistence salmon harvest calendars mailed in 2004 were
returned or were obtained during household surveys (Table 1). The recent 5-year average (1999-
2003) return rate of harvest calendars is 14%, with a mean of 274 returned calendars. The return
rate ranges from a low of 12% in 2001, when 290 calendars were returned, to a high of 17% in
1999, when 252 calendars were returned. The 15-year average harvest calendar return rate is
15%, with an average of 270 calendars returned (Table 2).
Households Interviews (Surveys)
Of the 38 communities in the Kuskokwim Management Area, household surveys were conducted
in 30 (79%) in 2004 (Table 2). Compared to the previous 15 years of monitoring program data,
the 2004 survey effort was exceptional. In no other year were household surveys conducted in 30
communities: the 15-year average is 26 communities, or 68% of area communities (Table 2).
In 2004, 2,297 Kuskokwim-area households were interviewed, including 956 households in
Bethel, which represented 42% of the total survey sample (Table 1). Compared to the 15-year
average of 1,463 households interviewed, the 2004 survey effort was significant, as it was the
third largest number of households interviewed in any single year since 1989; the only years
when more household surveys were conducted were 2000 and 2002. It is important to note,
however, that the average number of households interviewed from 1989-1998 was only 1,040
(Table 2). In 1999, the Kuskokwim subsistence salmon harvest monitoring program was
expanded to include household surveys of all Bethel households, whereas Bethel salmon harvests
had previously been estimated based upon postcard returns or telephone surveys alone. The
result was a dramatic increase in the number of Kuskokwim area households surveyed: between
1999 and 2003, the average number of households surveyed annually increased to 2,308
households, more than double the average number of households surveyed between 1989 and
1998 (Table 2).
Postcards
Of the 265 postcards mailed to Kuskokwim area households in 2004, 81 (31%) were returned
(Table 1). From 1989 to 2003, an average of 1,313 postcards were mailed annually. The 15-year
average (1989-2003) return rate of postcard surveys was 18%, and ranges from a low of 6% in
2001, when 1,638 postcards were mailed, to a high of 50% in 1990, when 609 postcards were
mailed (Table 2). Beginning in 2003, the number of postcards produced and distributed was
significantly reduced due to costs of production and mailing, the fact that Bethel households
began to be interviewed in 1999, as well as the historically low postcard return rates. The result
in 2003 was that, of the 368 postcards distributed, only 28 were returned. In contrast, the
dramatic increase in the 2004 postcard return rate was surprising.
2004 REGIONAL SAMPLING
Within the Kuskokwim River drainage, 2,185 (56%) of 3,929 households were contacted in
2004, including communities in north Kuskokwim Bay, which represented 90% of the total
households contacted from all regions combined (Table 1). This area had 84% of the estimated
total households, and its households were heavily involved with salmon fishing for subsistence.


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Eighty-seven percent of the households identified as fishing in the Kuskokwim area, or 1,308 of
1,503, were in the north Kuskokwim Bay area. Eighty-eight percent of the harvest calendars
returned in 2004 originated from households that regularly harvested salmon from the
Kuskokwim River. Of the total number of Kuskokwim area households that were interviewed
(2,297), 90% were households that regularly subsistence fished for salmon in the Kuskokwim
River. Finally, of the 81 postcards returned, 72% came from Kuskokwim River fishers.
Thus, the majority of salmon fishing for subsistence takes place by residents of communities
located on the lower Kuskokwim River. This area had an estimated total of 2,962 households, or
63% of all Kuskokwim-area households. In 2004, 65% of returned harvest calendars, 70% of
interviewed households, and 35% of returned postcards were from lower Kuskokwim River
communities. Of the 1,503 identified households that subsistence fished for salmon in 2004,
960, or 64%, were from lower Kuskokwim River communities (Table 1).
The north Kuskokwim Bay communities of Kipnuk, Kwigillingok, and Kongiganak together
contained an estimated 354 households, which represented 8% of the estimated total households
in the Kuskokwim area. Forty-nine households (14%) were contacted in 2004, representing 2%
of the total households contacted. In 2004, two harvest calendars were received from north
Kuskokwim Bay communities; 37 households were interviewed, which represented 2% of all
interviewed households; and 12 postcard surveys were received, which represented 15% of all
returned postcards. Of the 1,503 identified households that subsistence fished for salmon in
2004, 40, or 3%, were from north Kuskokwim Bay communities (Table 1).
The middle Kuskokwim communities of Lower Kalskag, Upper Kalskag, Aniak, and
Chuathbaluk contained an estimated 305 households, or 7% of the estimated total households in
the Kuskokwim Management Area. Two hundred twenty-nine households (75%) were contacted
in 2004, which represented 9% of the total households contacted. In 2004, 15% of returned
harvest calendars, 9% of interviewed households, and 4% of returned postcard surveys were
from middle Kuskokwim River communities. Of 1,503 identified households that subsistence
fished for salmon in 2004, 176, or 12%, were from middle Kuskokwim River communities
(Table 1).
Similarly, the upper portion of the river, consisting of nine communities, contained
approximately 308 households, or 7% of the estimated total number of households in the
Kuskokwim area. In this area, 240 households (78%) were contacted in 2004, which represented
10% of total households contacted. In 2004, 7% of returned harvest calendars, 10% of
interviewed households, and 19% of returned postcard surveys were from upper Kuskokwim
River communities. Of the 1,503 identified households that subsistence fished for salmon in
2004, 132, or 9%, were from upper Kuskokwim River communities (Table 1).
In the south Kuskokwim Bay region (Quinhagak, Goodnews Bay, and Platinum), 159 (70%) of
227 households were contacted in 2004, which represented 7% of Kuskokwim area households
contacted. This area had 5% of the estimated total households in the Kuskokwim Management
Area. Of the estimated total of 227 households in south Kuskokwim Bay, 124 households (55%)
subsistence fished in 2004, which represented 8% of total identified subsistence salmon fishing
households in the Kuskokwim area. Ten percent of harvest calendars returned in 2004 originated
from south Kuskokwim Bay households. Of the total number of Kuskokwim area households
that were interviewed, 7% were south Kuskokwim Bay households. Finally, of the 81 postcards
returned, 5% came from south Kuskokwim Bay fishers (Table 1).


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The Bering Sea coastal communities of Mekoryuk, Newtok, Nightmute, Toksook Bay, Tununak,
and Chefornak contained 514 estimated households, or 11% of the estimated total households in
the Kuskokwim Management Area. In 2004, contact was made with a total of 88 households
(17%), which represented 11% of the total Kuskokwim area households contacted. Of the
estimated 514 households in the Bering Sea coastal region, 71 households (14%) subsistence
fished for salmon in 2004, which represented 5% of total identified subsistence salmon fishing
households in the Kuskokwim area. Two percent of harvest calendars returned in 2004
originated from households on the Bering Sea coast. Of the total number of Kuskokwim area
households that were interviewed, 68 (3%) were households in Bering Sea coastal communities,
and all were from Toksook Bay. Finally, of the 81 postcards returned, 23% came from fishers
from the Bering Sea coast (Table 1).
For many years, Bering Sea coastal communities had not been surveyed door-to-door (Tables 2
and 3). However, in 2004, ADF&G conducted household surveys in Toksook Bay in response to
a reported strong community desire to participate. This also provided an opportunity to expand
knowledge about the subsistence salmon fishery on the Bering Sea coast. Subsistence salmon
fishing data from other coastal communities were obtained by postcard surveys and calendar
returns. However, based on the low sampling rate, participation in salmon fishing by residents of
Bering Sea coastal communities was likely significantly greater than was reported.
2004 SAMPLING COMPARED TO 1989-2003 MONITORING EFFORTS
Table 2 provides historical sampling data for the annual harvest monitoring program from 1989
to 2004 for each community in the Kuskokwim Management Area, including the total number of
households contacted, total number of households that returned harvest calendars, total number
of households interviewed, total number of households that returned postcard surveys, and
estimated total number of fishing households.
Table 3 summarizes the history of community participation in the Kuskokwim subsistence
harvest monitoring program from 1989 to 2004. This table illustrates, for each of the 38
communities in the management area, when 100% of the subsistence salmon harvest was
reported; when sufficient household data were collected to warrant extrapolating total harvest
estimates for particular communities; when sample sizes were insufficient such that only
reported harvests were presented; and when no contact was made for specific communities. This
table provides a comprehensive summary of monitoring program consistency and the relative
contribution of communities to total annual subsistence salmon harvest estimates from 1989 to
2004.

            RESULTS OF SUBSISTENCE SALMON HARVEST
                     MONITORING FOR 2004
AREAWIDE HARVEST ESTIMATES SUMMARY, 2004
A summary of the subsistence salmon harvest estimates by community and fishing area is
presented in Table 4. The estimated 2004 subsistence salmon harvest for the communities
contacted in the Kuskokwim Management Area was 85,086 Chinook salmon, 55,575 chum
salmon, 34,892 sockeye salmon, and 39,406 coho salmon, for a minimum estimated total of
214,959 salmon. These total estimates represent minimums for the management area because
they include both reported household harvests and expanded community harvest estimates, and
because they do not include subsistence salmon harvest information from communities where

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there was no contact with households. Tables 5, 6, 7, and 8 summarize 2004 Kuskokwim
Management Area harvest estimates of Chinook, chum, sockeye, and coho salmon, respectively.
Tables 5, 6, 7, and 8 also include the number of households assigned to the “do not usually fish”
and “usually fish” strata, as well as the number of households contacted in 2004 from each
stratum; also included are standard deviations for each stratum and confidence intervals for each
community estimate.
In 2004, estimates of all salmon species harvested in the subsistence fisheries fell within or
surpassed the ranges of the amounts reasonably necessary for subsistence uses (ANS), which was
determined by the Alaska Board of Fisheries in 2001 and codified in 5 AAC 01.286. 3 The
Alaska Board of Fisheries set ANS ranges based in part on the results of the harvest monitoring
program described in this report.
Salmon for Dog Food
Historically, salmon (usually chum or coho) harvested for dog food was a significant portion of
the total harvest. In the last 15 years, however, the number of households reporting the harvest of
salmon specifically for dog food has declined. This may be related to decreased use of dog teams
for transportation; reduced abundance, in some years, of salmon used for dog food; and the
availability of commercial dog food.
During 2004, 97 households reported harvesting salmon specifically for dog food. These
harvests included 6,381 chum salmon, 4,367 coho salmon, and 892 sockeye salmon. While
households do not specifically target Chinook salmon for dog food, some Chinook salmon unfit
for human consumption is given to dogs. People commonly feed scraps, backbones, and entrails
to their dogs, and 271 households reported using salmon this way in 2004.
Fishing Gear
Fishing households often use more than one type of gear (i.e., set gillnet, drift gillnet, fish wheel,
or rod and reel) when harvesting salmon (Table 9). During 2004, most households (1,004) used
drift gillnets for subsistence salmon harvests; others used rod and reel (366) or set gillnets (261).
The drift gillnet was the primary fishing gear used by households from Crooked Creek
downstream to the coastal communities of Kuskokwim Bay. Set gillnets were generally used
when fishers were targeting Chinook salmon early in the run. Interestingly, upper Kuskokwim
River fishing households reported more use of set gillnets than other regions within the
Kuskokwim Management Area: 54 out of 132 (41%) fishing households used set gillnets. In
contrast, only 14% of lower Kuskokwim River fishing households used set gillnets, while 75%
used drift gillnets. Fishing households along the Bering Sea coast also preferred using drift
gillnets (63%), as did north Kuskokwim Bay fishing households (83%), and middle Kuskokwim
River fishing households (56%) (Table 9).
Gillnet mesh size information was collected in 2004, including the number of households that
reported using a net with a mesh sized to catch Chinook salmon for subsistence. From the
estimated total of 1,503 Kuskokwim area subsistence salmon fishing households in 2004, 846
households provided gear size data. The most popular mesh size used to harvest Chinook

3
  ANS ranges are 64,500-83,000 Chinook salmon, 39,500-75,500 chum salmon, 27,500-39,500 sockeye salmon, and
24,500-35,000 coho salmon in the Kuskokwim River drainage and 7,500-13,500 salmon (all species combined) in
the remainder of the Kuskokwim area.


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salmon was 8-inch (46%), followed by 6-inch mesh (13%), 5 ½-inch mesh (9%), and then 8 ¼-
inch mesh (8%). Forty-two percent (357 households) of reporting Kuskokwim area households
harvested Chinook salmon with gillnets with mesh sizes smaller than 8 inches in 2004; 58%
reported harvesting Chinook salmon with 8-inch or larger gear, and 36 households reported using
8 ½-inch gear (Table 10).
Households throughout the area also used rod and reel for subsistence fishing. Rods and reels
were used by families who had no access to other gear types, by fishers in areas where other gear
types are not as effective, or by fishers who chose them as a more selective gear type to harvest
just a few fish. In 2004, 366 Kuskokwim area households in 29 communities reported using rod
and reel gear for subsistence salmon fishing, 43% of which were from lower Kuskokwim River
communities (67 Bethel households), 20% from the middle Kuskokwim, 17% from the upper
Kuskokwim, 16% from south Kuskokwim Bay, and 4% from fishing households along the
Bering Sea coast; no rod and reel subsistence fishing was reported from north Kuskokwim Bay
communities (Table 9).
Only one household reported using fish wheel gear for harvesting subsistence salmon in 2004
(Table 9). Generally, one or two fish wheels were operated by households in Aniak and
McGrath. In 2004, surveyors were unable to contact any other household that usually operated a
fish wheel. One household in Napaskiak reported using seine gear to harvest salmon for
subsistence, and one household in Aniak reported the use of spears for harvesting subsistence
salmon. A total of 233 fishing households did not report the type of gear they used for
subsistence fishing, which represented 16% of the estimated total number of subsistence salmon
fishing households in 2004.
Salmon Retained from Commercial Fishing for Subsistence Use
Households involved in commercial salmon fishing sometimes keep a portion of their catch for
subsistence use; however, the number of salmon retained is usually relatively small (Table 11).
During 2004, 17% of commercial fishing households (55 of 317) reported retaining a total of 582
commercially-caught salmon for subsistence use. In total, 118 Chinook salmon, 49 chum
salmon, 90 sockeye salmon, and 325 coho salmon were retained from commercial harvests.
REGIONAL HARVEST SUMMARY, 2004
Lower Kuskokwim River communities, including Bethel, which represented 64% of the
estimated total number of subsistence fishing households in 2004, harvested 74% of the
estimated total 2004 subsistence salmon harvest in the Kuskokwim Management Area, including
78% of the Chinook salmon, 71% of the chum salmon, 73% of the sockeye salmon, and 71% of
the coho salmon (Tables 4, 5, 6, 7, and 8). In 2004, Bethel households alone, which represented
26% of the total fishing households in 2004, harvested 30% of the total Kuskokwim
Management Area subsistence salmon catch, including 32% of the total Chinook salmon, 22% of
the total chum salmon, 30% of the total sockeye salmon, and 38% of the total coho salmon
(Tables 4, 5, 6, 7, and 8).
The middle Kuskokwim River communities, which represented approximately 12% of the total
subsistence fishing households in the area, harvested 10% of the estimated total 2004 subsistence
salmon harvest in the Kuskokwim area, including 9% of the Chinook salmon, 12% of the chum
salmon, 7% of the sockeye salmon, and 9% of the coho salmon (Tables 4, 5, 6, 7, and 8).



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The upper Kuskokwim River communities, which represented 9% of the subsistence fishing
households identified in 2004, harvested 7% of the estimated total 2004 subsistence harvest in
the Kuskokwim area, including 4% of the total Chinook salmon, 7% of the chum salmon, 9% of
the sockeye salmon, and 9% of the coho salmon (Tables 4, 5, 6, 7, and 8).
North Kuskokwim Bay communities, which represented 3% of fishing households identified in
2004, harvested 3% of the estimated total 2004 subsistence harvest in the Kuskokwim
Management Area, including 2% of the Chinook salmon, 3% of the chum salmon, 3% of the
sockeye salmon, and 2% of the coho salmon (Tables 4, 5, 6, 7, and 8).
South Kuskokwim Bay communities, which represented 8% of the subsistence salmon fishing
households identified in 2004, harvested 5% of the estimated total 2004 subsistence harvest in
the Kuskokwim Management Area, including 6% of the Chinook salmon, 2% of the chum
salmon, 6% of the sockeye salmon, and 7% of the total coho salmon (Tables 4, 5, 6, 7, and 8).
Finally, the Bering Sea coastal communities, which represented 5% of area subsistence salmon
fishing households in 2004, harvested 2% of the estimated total 2004 subsistence salmon harvest
in the Kuskokwim Management Area, which included less than 1% of the Chinook salmon, 3%
of the chum salmon, 1% of the sockeye salmon, and 2% of the total coho salmon (Tables 4, 5, 6,
7, and 8).
OTHER FISH HARVESTED
One of the project objectives was to arrive at an estimate of the number of non-salmon fish, by
species, harvested by residents of Bethel and Aniak. These data were collected only in Bethel in
order to be certain that there were enough resources to complete the salmon survey and resulting
data analysis.
Bethel Non-Salmon Fish Harvests, 2004
Bethel residents harvested an estimated 35,430 non-salmon fish of various species, or an
estimated total of 136,241 lbs usable weight of non-salmon fish, as summarized in Table 12 and
Figure 2. By far the most significant non-salmon fish harvested by Bethel residents was northern
pike (Esox lucius): a total estimate of 20,631 pike were harvested in 2004, representing 59% of
the total non-salmon fish harvest by usable weight. Smelt (Thaleichthys pacificus) and burbot
(Lota lota) represented the second and third most harvested non-salmon species. An estimated
total of 3,005 burbot and 2,454 gallons of smelt were harvested, which represented 10% and 9%,
respectively, of the overall non-salmon Bethel harvest in 2004 by usable weight. Bethel residents
also harvested an estimated total of 2,597 broad whitefish (Coregonus nasus) and 4,849
humpback whitefish (C. oidschian), which represented 7% and 6%, respectively, of the 2004
non-salmon fish harvest by usable weight. Bering cisco (C. laurettae), round whitefish
(Prosopium cylindraceum), unknown whitefish (Prosopium or Coregonus sp.), Arctic grayling
(Thymallus arcticus), rainbow trout, lake trout (Salvelinus namaycush), and lamprey (Lampetra
sp.) each represented less than 1% of the 2004 Bethel non-salmon fish harvest by usable weight
(Table 12, Figure 2).
Bethel fishers used drift gillnets to harvest only 3% of the total number of non-salmon species
harvested; most (62%) non-salmon fish were caught by hooking through the ice with jigging




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gear 4 , or by rod and reel in open water, especially northern pike and burbot (Table 12). Twenty-
six percent of the non-salmon fish harvest came from the use of set gillnets in open water
(mainly targeting whitefishes and northern pike). Ten percent of the non-salmon fish harvest
came from the use of gillnets set under the ice (mainly targeting northern pike and humpback
whitefish). Smelt were harvested exclusively with dipnets, and Alaska blackfish (Dallia
pectoralis) were harvested using small, locally-made fish traps called taluuyaq.

                            DISCUSSION AND CONCLUSIONS
2004 HARVEST ESTIMATES COMPARED TO 1989-2003 SUBSISTENCE SALMON
HARVEST MONITORING ESTIMATES
Areawide Subsistence Salmon Harvest Assessment, 2004
Estimated subsistence salmon harvests in the Kuskokwim Management Area in 2004 exceeded
those of 2003, with the exception of sockeye salmon (Table 13). The estimated 2004 total
salmon harvest in the Kuskokwim area of 214,959 fish exceeded the recent 5-year (1999-2003)
average of 203,908 salmon harvested, but fell below the 10-year average harvest of 216,617, and
the 15-year average harvest of 239,443 salmon (Table 13). This trend was largely driven by
chum salmon subsistence harvests, as discussed below. It is important to note that the total
subsistence harvest estimates discussed here represent minimum totals because the harvest
figures for the entire management area included both expanded community estimates and some
reported household harvests. Furthermore, these total estimates represent minimums because
they did not include subsistence salmon harvests from communities in which no households were
contacted.
Chinook Salmon
The estimated 2004 Chinook salmon subsistence harvest of 85,086 fish exceeded the previous 5-
year (1999-2003) average of 73,358 Chinook salmon harvested, as well as the 10-year (1994-
2003) average of 81,854, and the 15-year (1989-2003) of 83,146 Chinook salmon harvested in
the Kuskokwim area (Table 13). The 2004 Chinook salmon subsistence harvest was 17% larger
than the estimated 2003 harvest - Kuskokwim subsistence fishers harvested 12,588 more
Chinook salmon in 2004 than in 2003 - and it was the largest since 1998 (Table 14).
Chum Salmon
The estimated 2004 chum salmon subsistence harvest of 55,575 fish exceeded the recent 5-year
average harvest of 54,725 chum salmon, but fell below the recent 10-year and 15-year averages
of 61,841 and 76,840 chum salmon, respectively (Tables 13 and 15). Kuskokwim subsistence
salmon fishers harvested 9,284 more chum salmon in 2004 than in 2003 (Tables 13 and 15). The
2004 chum salmon harvest continued a trend that differed significantly from the much higher
annual chum salmon harvests documented in the late 1980s and early 1990s (Tables 13 and 15).
The decrease in chum salmon harvests for subsistence uses was likely related to the reduction in
the number of dogs kept for transportation, the availability of commercial dog food, and the
possible shifting of subsistence patterns resulting from recent years of poor chum salmon returns.
However, many more factors may have been involved; for example, given the importance of

4
 Jigging gear consists of a line or lines with lures or baited hooks that are operated during periods of ice cover from
holes cut in the ice and which are drawn through the water by hand (5 AAC 01.010(2)).


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chum salmon as a dried fish product, an increased use of freezers may also help to explain lower
chum salmon harvests. This is a question for additional research.
Sockeye Salmon
The estimated 2004 sockeye salmon subsistence harvest of 34,892 fish fell below the recent 5-
year (1993-2003) average of 42,162 sockeye salmon harvested, as well as the 10-year (1994-
2003) average of 39,258 fish and the 15-year average of 40,750 sockeye salmon harvested in the
Kuskokwim area. Kuskokwim subsistence salmon fishers harvested 2,002 fewer sockeye salmon
in 2004 than in 2003. The 2004 estimated sockeye salmon harvest was the fourth-lowest harvest
documented since 1989; sockeye salmon harvests were estimated to be lower only in 1992, 1995,
and 2002 (Tables 13 and 16).
Coho Salmon
The estimated 2004 coho salmon subsistence harvest of 39,406 fish exceeded the recent 5-year
average harvest of 33,663 coho salmon harvested, the recent 10-year average of 33,664 fish, and
the 15-year average harvest of 38,707 coho salmon harvested in the Kuskokwim area.
Kuskokwim salmon fishers harvested an estimated 615 more coho salmon in 2004 than in 2003,
and had the largest coho harvest since 1992. The 2004 harvest was the fifth-largest subsistence
coho harvest documented by the harvest monitoring program, following larger harvests
documented in 1989-1992 (Tables 13 and 17).
Regional Harvest Assessment, 2004
Data describing the harvest of salmon for subsistence differed interregionally for a variety of
reasons, including differences in stock migration patterns, run abundances, run timings,
community dietary preferences, and other cultural patterns, such as different salmon preservation
techniques (e.g., Chinook salmon were frozen and chum salmon were dried). While specific
causes of different patterns of salmon fishing methods, harvest, and uses were not investigated
through the Kuskokwim harvest monitoring program, interregional harvest patterns are
summarized below and compared to previous harvest monitoring results to provide an overall
regional assessment of 2004 subsistence salmon harvests. It is important to note that the total
salmon harvest for subsistence estimates discussed here represent minimum totals because the
harvest figures included both reported household harvests and some expanded community
estimates.
Chinook Salmon
Chinook salmon harvests in 2004 exceeded historical averages in all regions of the Kuskokwim
Management Area, which suggests that 2004 Chinook salmon harvest levels reflected overall
stock abundance (Table 14).
Chinook salmon subsistence harvests from the Kuskokwim River drainage in 2004 (including
harvests by north Kuskokwim Bay communities) were estimated at 80,065 fish, which exceeded
the recent 5-year average of 69,258 Chinook salmon harvested, as well as the 10-year average
harvest of 77,687 fish and the 15-year average harvest of 78,892 fish (Table 14).
With respect to Chinook salmon harvested by the residents of north Kuskokwim Bay
communities, total community harvest estimates were developed only for Kongiganak because
the sample size of contacted households in Kipnuk and Kwigillingok was too small to warrant
data expansion. Kongiganak salmon fishing households harvested an estimated total of 1,872


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Chinook salmon in 2004, which exceeded the recent 5-year average harvest of 1,294 fish, as well
as the 10-year average of 1,266 fish and the 15-year average of 1,244 Chinook salmon harvested
(Table 14).
Lower Kuskokwim River communities harvested an estimated 66,687 Chinook salmon in 2004,
which exceeded the recent 5-year average harvest of 59,063 fish, as well as the recent 10-year
and 15-year average harvests of 64,901 and 65,466 Chinook salmon, respectively (Table 14).
The Middle Kuskokwim River communities of Lower Kalskag, Upper Kalskag, Aniak, and
Chuathbaluk harvested an estimated total of 8,007 Chinook salmon in 2004, which exceeded the
recent 5-year and 10-year average harvests of 6,383 and 8,009 fish, respectively; but which did
not exceed the 15-year average harvest of 8,447 fish (Table 14).
Those Kuskokwim River communities upstream of Crooked Creek harvested an estimated total
of 3,499 Chinook salmon in 2004, which exceeded the recent 5-year average harvest of 2,519
fish, but not the recent 10-year and 15-year average harvests of 3,512 and 3,636 Chinook
salmon, respectively (Table 14).
The south Kuskokwim Bay communities of Quinhagak, Goodnews Bay, and Platinum harvested
an estimated total of 4,680 Chinook salmon in 2004, which exceeded the recent 5-year, 10-year,
and 15-year average harvests of 3,926 fish, 4,017 fish, and 4,216 Chinook salmon, respectively
(Table 14).
Bering Sea coastal communities reported harvesting 341 Chinook salmon in 2004 (Table 14);
however, given the fact that the Kuskokwim area harvest monitoring program rarely contacted
these communities, development of total community harvest estimates was infrequent. In fact,
total community harvest estimates have been developed only twice in the history of the existing
harvest monitoring program: both of which were for Toksook Bay, first in 2000 and then again
in 2004 (Table 3). The lack of total community estimates in the Bering Sea coastal region
means that an assessment of 2004 Chinook salmon (and other species harvests) was not possible.
Chum Salmon
Chum salmon subsistence harvests from the Kuskokwim River drainage in 2004 (including
harvests by north Kuskokwim Bay communities) was estimated at 52,374 fish, which exceeded
the recent 5-year average of 51,502 chum salmon harvested, but fell below the 10-year average
harvest of 58,988 fish and the 15-year average harvest of 73,668 fish (Table 15).
With respect to chum salmon harvested by residents of north Kuskokwim Bay communities, total
community harvest estimates were developed only for Kongiganak because sample sizes of
contacted households in Kipnuk and Kwigillingok were too small to warrant data expansion.
Kongiganak salmon fishing households harvested an estimated total of 1,587 chum salmon in
2004, which was identical to the recent 5-year average and which exceeded the 10-year and 15-
year average harvests of 1,443 and 1,383 chum salmon (Table 15). The increase in chum harvest
in the north Kuskokwim Bay may have been attributable to a relatively more abundant chum run
in 2004. Run size had been increasing since 2001, which had resulted in above-average to record
escapements in recent years as well as underutilized harvestable surpluses (e.g., Linderman and
Bergstrom 2006); however, this increase may have also reflected different fishing practices as
well.




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Lower Kuskokwim River communities harvested an estimated 39,540 chum salmon in 2004,
which fell below the recent 5-year average harvest of 40,998 fish, as well as below the 10-year
and 15-year average harvests of 45,720 fish and 56,142 chum salmon (Table 15).
The Middle Kuskokwim River communities of Lower Kalskag, Upper Kalskag, Aniak, and
Chuathbaluk harvested an estimated total of 6,930 chum salmon in 2004, which exceeded the
recent 5-year average harvest of 6,025 fish, but not the recent 10-year and 15-year average
harvests of 7,406 fish, and 10,004 chum salmon, respectively (Table 15).
Upper Kuskokwim River communities upstream of Crooked Creek harvested an estimated total
of 4,001 chum salmon in 2004, which exceeded the recent 5-year average harvest of 2,831 fish,
but not the recent 10-year and 15-year average harvests of 4,328 fish, and 5,975 chum salmon,
respectively. Chum salmon are the most harvested species of salmon by Upper Kuskokwim
River communities (Table 15).
The South Kuskokwim Bay communities of Quinhagak, Goodnews Bay, and Platinum harvested
an estimated total of 1,369 chum salmon in 2004, which fell below the recent 5-year, 10-year,
and 15-year average harvests of 1,578 fish, 1,430 fish, and 1,733 chum salmon, respectively
(Table 15).
Bering Sea coastal communities reported harvesting 1,832 chum salmon in 2004; however, a
community estimate was developed only for Toksook Bay (938 chum salmon) due to insufficient
household contact in other Bering Sea coastal communities. The lack of total community
estimates in the Bering Sea coast region meant that an assessment of 2004 chum salmon harvest
relative to previous years was not possible (Table 15).
Sockeye Salmon
The fact that subsistence sockeye harvests fell below regional average harvests throughout the
management area suggested that 2004 harvest levels likely resulted from a decreased run
abundance (Tables 13 and 16).
Sockeye salmon subsistence harvests from the Kuskokwim River drainage in 2004 (including
harvests by north Kuskokwim Bay communities) were estimated at 32,433 fish, which fell below
the recent 5-year, 10-year, and 15-year average harvests of 39,695 fish, 37,314 fish, and 38,602
sockeye salmon, respectively (Table 16).
With respect to sockeye salmon harvested by residents of north Kuskokwim Bay communities,
total community harvest estimates were developed only for Kongiganak because sample sizes of
contacted households in Kipnuk and Kwigillingok were too small to warrant data expansion.
Kongiganak salmon fishing households harvested an estimated total of 876 sockeye salmon in
2004, which fell below the recent 5-year average harvest of 1,130 fish and the 10-year average
harvest of 962 fish, but exceeded the 15-year average harvest of 856 sockeye salmon (Table 16).
Lower Kuskokwim River communities harvested an estimated total of 25,606 sockeye salmon in
2004, which fell below the recent 5-year average harvest of 32,254 fish, as well as below the 10-
year and 15-year average harvests of 29,406 fish and 29,806 sockeye salmon (Table 16).
The Middle Kuskokwim River communities of Lower Kalskag, Upper Kalskag, Aniak, and
Chuathbaluk harvested an estimated total of 2,528 sockeye salmon in 2004, which fell below the
recent 5-year average harvest of 2,800 fish, but not below the recent 10-year and 15-year average
harvests of 2,830 fish, and 2,632 sockeye salmon, respectively (Table 16).


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Kuskokwim River communities upstream of Crooked Creek harvested an estimated total of
3,264 sockeye salmon in 2004, which fell below the recent 5-year, 10-year, and 15-year average
harvests of 3,461 fish, 4,054 fish, and 4,740 sockeye salmon, respectively (Table 16).
The south Kuskokwim Bay communities of Quinhagak, Goodnews Bay, and Platinum harvested
an estimated total of 2,046 sockeye salmon in 2004, which fell below the recent 5-year average
harvest of 2,251 fish, but which exceeded the recent 10-year and 15-year average harvests of
1,783 fish and 1,964 sockeye salmon, respectively (Table 16).
Bering Sea coastal communities reported harvesting 413 sockeye salmon in 2004; however, a
community estimate was developed only for Toksook Bay (359 sockeye salmon) due to
insufficient household contact in other Bering Sea coastal communities. The lack of total
community estimates in the Bering Sea coastal region means that an assessment of 2004 sockeye
salmon harvest relative to previous years was not possible (Table 16).
Coho Salmon
Coho harvests in 2004 exceeded historical averages in all regions of the Kuskokwim
Management Area, which suggested that the 2004 subsistence coho salmon harvest levels
reflected overall run abundance.
Coho salmon subsistence harvests from the Kuskokwim River drainage in 2004 (including
harvests by north Kuskokwim Bay communities) was estimated at 35,735 fish, which exceeded
the recent 5-year, 10-year, and 15-year average harvests of 31,263 fish, 31,228 fish, and 35,484
coho salmon, respectively (Table 17).
North Kuskokwim Bay subsistence fishers harvested at least 856 coho salmon in 2004; however,
total community harvest estimates were developed only for Kongiganak because sample sizes of
contacted households in Kipnuk and Kwigillingok were too small to warrant data expansion.
Kongiganak salmon fishing households harvested an estimated total of 551 coho salmon in 2004,
which fell below the recent 5-year average harvest of 570 fish, as well as the 10-year average
harvest of 534 fish and the 15-year average of 527 coho salmon (Table 17).
Lower Kuskokwim River communities harvested an estimated 28,025 coho salmon in 2004,
which exceeded the recent 5-year average harvest of 24,598 fish, as well as the recent 10-year
and 15-year average harvests of 23,592 and 27,045 coho salmon, respectively (Table 17).
The middle Kuskokwim River communities of Lower Kalskag, Upper Kalskag, Aniak, and
Chuathbaluk harvested an estimated total of 3,487 coho salmon in 2004, which exceeded the
recent 5-year, 10-year, and 15-year average harvests of 3,172 fish, 3,171 fish, and 3,179 coho
salmon, respectively (Table 17).
Those Kuskokwim River communities upstream of Crooked Creek harvested an estimated total
of 3,367 coho salmon in 2004, which exceeded the recent 5-year average harvest of 2,834 fish,
but fell below the 10-year and 15-year average harvests of 3,855 fish, and 4,630 coho salmon,
respectively (Table 17).
The south Kuskokwim Bay communities of Quinhagak, Goodnews Bay, and Platinum harvested
an estimated total of 2,826 coho salmon in 2004, which exceeded the recent 5-year and 10-year
average harvests of 2,222 fish and 2,274 fish respectively, but which fell below the recent 15-
year average harvest of 3,067 coho salmon (Table 17).



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Bering Sea coastal communities reported harvesting 845 coho salmon in 2004; however, given
the fact that little contact had occurred with these communities during annual harvest monitoring
activities, development of total community harvest estimates was infrequent. The lack of total
community estimates in the Bering Sea coastal region meant that an assessment of 2004 coho
salmon harvests relative to previous years’ harvests was not possible (Table 17).
Interregional Salmon Harvest Composition Comparisons among Species, 2004
Salmon harvests by residents of north Kuskokwim Bay, the lower Kuskokwim River, and the
middle Kuskokwim River communities demonstrated a similar species composition pattern
among these three regions. Chinook salmon and chum salmon comprised approximately 70% of
the harvest in each region, and coho salmon and sockeye salmon represented the remaining 30%
(Figures 3, 4 and 5).
Harvests in the upper Kuskokwim River and south Kuskokwim Bay regions were markedly
different from other regions. In the upper Kuskokwim, for example, each of the four species of
salmon harvested in the area accounted for nearly 25% of the total harvest (Figure 6). South
Kuskokwim Bay subsistence salmon harvest was largely Chinook salmon (42%), and residents
of this area had the largest proportion of coho salmon harvests (26%) in the Kuskokwim
Management Area (Figure 7).
Despite the dramatic decline in chum salmon subsistence harvests in the Kuskokwim area, not all
regions were harvesting fewer chum salmon. The north Kuskokwim Bay communities
experienced greater chum salmon harvests in 2004 than their historical 5-year, 10-year, and 15-
year average harvests (Table 15). On the other hand, lower Kuskokwim River communities and
south Kuskokwim Bay communities harvested fewer chum salmon for subsistence uses in 2004
than their historical 5-year, 10-year, and 15-year averages. This interregional pattern suggests
that investigations into the causes of the dramatic decline in chum salmon harvests during the
past two decades should focus on the lower Kuskokwim River and south Kuskokwim Bay
communities. Such investigations, however, also should attempt to evaluate the effect of
“windowed” subsistence fishing on decreased chum salmon harvests in the lower river relative to
the increasing harvests of chum salmon in the middle and upper Kuskokwim River communities.
Harvest compositions varied dramatically, reflecting a community’s access to each species. For
example, households in Lime Village, located along the Stony River, harvested an estimated 66
Chinook salmon, 189 chum salmon, 831 sockeye salmon, and 220 coho salmon; while those in
Nikolai, who have no access to sockeye salmon runs, harvested an estimated 510 Chinook
salmon, 260 chum salmon, and 156 coho salmon in 2004 (Tables 14, 15, 16, and 17). The
differences between these two examples were likely attributable to the large number of sockeye
salmon that spawn in the drainages of the Stony and Holitna rivers, both of which are tributaries
of the Kuskokwim River well downstream of the communities of Nikolai, McGrath, Telida, and
Takotna. The significance of comparisons like these is that species run strengths, viewed from
an areawide perspective, affected communities in different ways, depending on customary and
traditional dependence on particular salmon stocks.
Tables 14, 15, 16, and 17 provide harvest estimates for each community in the Kuskokwim
Management Area from 1989 through 2004, and illustrate the recent 5-year, 10-year and 15-year
harvest averages for each Kuskokwim area community that had a consistent total community
estimate during the 15 years of the harvest monitoring program. The Bering Sea coastal
communities, however, were not associated with average harvest rates due to the fact that most

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harvest monitoring data represent sample sizes were not large enough to estimate total
community harvests. Tables 14, 15, 16, and 17 provide a means to assess specific community
harvest estimates from 1989 through 2004.
NON-SALMON FISH HARVESTS
Although the focus of this project was on collecting salmon subsistence harvest information,
non-salmon fish subsistence harvest information was also collected in the hub community of
Bethel (see the “Results” section of this report). The non-salmon harvest data collected in Bethel
represent the only non-salmon fish subsistence harvest information collected in the Kuskokwim
area in 2004. The Bethel household survey data suggested that 82% (695,637 lbs) of the total
fish subsistence harvested by usable weight (850,761 lbs) were salmon, while non-salmon
comprised 18% (155,124 lbs) of the total fish harvest by weight.
The results of the non-salmon fish survey indicated that, in 2004, non-salmon fish species
contributed significantly to Bethel area subsistence fish harvests (Table 12). Previous research in
other communities on the Kuskokwim River also demonstrated the significance of non-salmon to
Kuskokwim area subsistence fishers (e.g., Andrews 1989, 1994; Coffing 1991; Coffing et al.
2001; Coffing et al. 2003; Holen et al. 2006; Krauthoefer et al. 2007; Pete 1984, 1989, 1991a,
1991b, 1992; Simon et al. 2007; Stokes 1985; Wolfe et al. 1984). However, it is important to
note that much of this research was timed to survey residents at times other than immediately
after the conclusion of the salmon fishing season. Recently, Brown, Burr, Elkin, and Walker
(2005) compared non-salmon harvest estimates identified during a postseason salmon survey
with estimates from a non-salmon harvest assessment project that took place in the lower- and
middle-Yukon regions (specifically, Grayling, Anvik, Shageluk, and Holy Cross) at
approximately the same time period. The comparison found that postseason household surveys
implemented immediately following the salmon fishing season may not have produced the most
reliable results for non-salmon harvest given the considerable differences in non-salmon harvest
estimates resulting from the two harvest assessment projects (Brown et al. 2005:154).
Additionally, the postseason salmon survey program along the Kuskokwim River and in Bethel
targeted those households that usually participated in salmon fishing for subsistence. It may be
that these households differed from those involved in fishing for non-salmon, and thus using a
similar method would not have produced accurate estimates of non-salmon fish subsistence
harvest. The harvest estimates for non-salmon fish resulting from this project should therefore
be viewed as minimum totals; furthermore, a project focused on assessing the annual subsistence
harvest and use patterns of non-salmon fish might lead to more accurate estimates of non-salmon
harvest. It is recommended that further methodological assessment of salmon and non-salmon
fish harvest estimates be considered in future research.
Finally, as previously stated, this project did not achieve two of the investigation plan objectives,
both of which were related to non-salmon harvest monitoring. These included estimating the
amount and species of non-salmon fish harvested in Aniak, and identifying harvest locations for
hook and line gear for Bethel and Aniak households. The lack of harvest estimates and harvest
location information for Aniak was partially offset by the results of Study No. FIS 01-112, “The
harvest of non-salmon fish by residents of Aniak and Chuathbaluk, Alaska, 2001-2003”
(Krauthoefer et al. 2007).
ADF&G emphasized documenting salmon subsistence harvests in the Kuskokwim Management
Area in 2004, recognizing that salmon harvest data were the primary information need identified


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by the Yukon-Kuskokwim Delta Regional Advisory Council, the Kuskokwim Fisheries
Resource Coalition, and FRMP. ADF&G determined that there was insufficient time and
resources to conduct the data entry and analysis necessary to complete all objectives. While
originally intending to also document Bethel and Aniak non-salmon fish harvest and non-salmon
fishing locations, the loss of Commercial Fisheries’ financial support after the proposal for this
project had been submitted necessitated exercising cost-savings measures to account for the
decrease in state funds available for this program. Additional challenges included the fact that
Division of Subsistence investigators and information management staff were new to the project
at the time of implementation. Furthermore, information management staff concluded that time
was insufficient to create a new database for analysis of the Aniak non-salmon fish and hook and
line harvest location information in addition to revising the existing Bethel non-salmon fish
harvest location database.
In spite of these unmet objectives, this project successfully accomplished the principal objectives
identified in the investigation plan: to document subsistence harvests of Kuskokwim salmon in
2004 in one of the largest subsistence fisheries in Alaska in terms of amounts harvested. The
2004 salmon harvest monitoring efforts resulted in a higher-than-average number of
communities from which subsistence salmon harvest information was collected. Household
surveys were conducted in more Kuskokwim area communities than in any previous year since
the program began in 1989; similarly, the number of households interviewed in 2004 was the
third largest since 1989. In conclusion, the 2004 Kuskokwim area subsistence salmon harvest
monitoring program resulted in representative harvest estimates that were comparable to
previous harvest monitoring results, with the exception of the Bering Sea coastal region and a
few communities in the other regions.

                                  RECOMMENDATIONS
Subsistence salmon harvest surveys of one type or another have been conducted in the
Kuskokwim region for a number of decades. The current annual Kuskokwim area postseason
subsistence salmon harvest monitoring program and its associated methods have been in place
since 1989. There are several recommendations related to monitoring harvests, and four
recommendations related to assessment of these salmon resources. 5
MONITORING HARVESTS
Considering the magnitude and importance of this fishery, and the need for management
consistent with the sustained yield principle and other statutory requirements, a scientifically-
based annual harvest monitoring program is necessary for managing Kuskokwim Management
Area salmon. It is, therefore, recommended that the annual subsistence salmon harvest in the
Kuskokwim Management Area should continue to be monitored by ADF&G. Survey data on
subsistence salmon harvests should be collected annually, using the methods developed by
Subsistence to ensure data comparability through time.
State and federal agencies should continue to partner in funding the Kuskokwim area subsistence
salmon harvest monitoring program as monitoring results are vital to both state fisheries


5
  The American Heritage Dictionary defines “monitoring” as keeping track of systematically with a view to
collecting information. In contrast, “assessment” refers to the evaluation of the information.


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management and federal subsistence programs. Cost efficiencies should continue to be explored,
but in keeping with the existing methodology to ensure data comparability across years.
Chinook and chum salmon, in particular, are major food sources for residents in the Kuskokwim
Management Area and account for a significant part of the total harvest of wild resources in any
given year (ADF&G 2007). Most of the Chinook salmon caught in the state for subsistence
purposes are harvested here; one of every two subsistence-caught Chinook in the state is
harvested in the Kuskokwim Management Area. Their escapement numbers often fluctuate,
sometimes considerably in any 10-year period (Whitmore et al. 2005). It is important for
fisheries management purposes to know what the total harvest of these species is relative to total
run size on an annual basis and to identify trends in the fishery. It is, therefore, also
recommended that biological monitoring of escapement numbers in index streams be continued
and expanded.
It is also recommended that information about the subsistence harvest of non-salmon fish should
be collected whenever possible, given their significance in the annual subsistence harvest in the
Kuskokwim area, as demonstrated in this survey and in others. A survey, independent of salmon
surveys, should be conducted in representative communities throughout the Kuskokwim
Management Area. The FRMP-funded study No. FIS 01-112, which documented the harvest of
non-salmon fish by residents of Aniak and Chuathbaluk from 2001-2003, provided information
for a portion of the middle Kuskokwim River region. Similarly, FRMP Study No. FIS 06-351
documented subsistence harvests of non-salmon fish for one year by residents of Eek,
Nunapitchuk, and Tuntutuliak on the lower Kuskokwim River. Residents have also expressed
concerns about changes in whitefish populations, which would be better understood through
additional research in harvest monitoring and traditional ecological knowledge, as well as
through the continuation of stock status and trends projects.
ASSESSMENT
Many of the tables included in this report compare the 2004 harvest monitoring results (sampling
results and harvest estimates) with previous monitoring results by area, region, and salmon
species to annually assess 1) the relative efficacy of community samples and resulting harvest
estimates, 2) the relative contribution of a particular region’s or a particular community’s
subsistence salmon harvests to the areawide estimate, and 3) whether any trends could be
observed in a particular subsistence salmon fishery. Future harvest monitoring efforts should
continue to build upon this effort in order to contribute to the evaluation and assessment of the
annual harvest monitoring program sampling results and harvest estimates.
A research project should be designed to identify the variables that contribute to temporal
changes in the magnitude of subsistence salmon harvests. For example, is the magnitude of
salmon harvests related to changes in population size in a community? Is there a certain per
capita subsistence use of salmon that is maintained by adjusting harvests of individual species to
run strength? The Division of Subsistence is considering the development of a retrospective
patterns and trends project proposal to pursue this line of investigation in the Kuskokwim
Management Area.
Comparing Kuskokwim subsistence chum salmon harvests in 2004 with historical chum salmon
harvest estimates demonstrated a dramatic decrease in the number of chum salmon harvested for
subsistence uses on the Lower Kuskokwim River, but increased harvests in the Upper
Kuskokwim region. One hypothesis posed is that this trend relates to a decline in the number of


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dogs kept for transportation purposes. A research project could be designed to investigate why
Kuskokwim area households no longer harvest the numbers of chum salmon that they did in the
1980s and early 1990s.
Finally, mineral and gas development in the area need to be monitored in terms of its potential
impacts on the Kuskokwim salmon fishery, given the significance of salmon to residents.

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             Key Takeaways
                         In 2021, there were 9.7 million American Indian/Alaska Native (AI/AN)
                         people; 10.2% were age 65+.
                         AI/AN people rank at, or near the bottom of, nearly every social, health,
                         and economic indicator. Lower life expectancy and disproportionate
                         disease burden are a result of inadequate education, disproportionate
                         poverty, discrimination in the delivery of health services, and cultural
                         differences.
                         There are 574 federally recognized American Indian/Alaska Native
                         nations. In 2022, there were 324 federally recognized American Indian
                         reservations.




            C    ompared with other racial and ethnic groups in the United States, people
                 who are American Indian or Alaska Native (AI/AN) make up a relatively small
             part of the population. Thus, AI/AN people are often considered an “invisible
             minority,” which makes recognition by established government-reported
             tracking scales ineffective and outdated.

             A snapshot of the U.S. American Indian/Alaska Native population
             Race, like all other US Census data, is self-reported. Since 2000, the US Census
             allowed people to indicate more than one race. Those who marked “American
             Indian or Alaska Native” along with one or more additional races are classified as
             “American Indian or Alaska Native in combination.” Those who marked only
             “American Indian or Alaska Native” are categorized as “American Indian or
             Alaska Native alone.”

             In 2021, there were 9.7 million AI/AN people (alone or in combination),
             comprising 2.9% of the total U.S. population of 329.5 million. This is an increase

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             of 86.5% from the last Census.1

             Age

                           According to Census data, 10.2% of AI/AN (alone) people are 65 or older,
                           compared to 16.8% for the United States overall.
                           Approximately 27% of AI/AN people are under the age of 18, compared
                           to 18.9% of the non-Hispanic white U.S. population.2

             Veteran status

                           American Indian and Alaska Native people have served with distinction
                           in the U.S. military in every major conflict for over 200 years.

                           AI/AN people serve in the military at five times the national average.
                           Today, nearly 20% of all AI/AN service members are women, compared
                           to 15.6% of all service members who are women.3

             Geography and tribal communities
             In 2022, there were 324 federally recognized American Indian reservations.4

                           An Indian reservation is an area of land managed by an AI/AN tribe
                           under the United States Department of the Interior's Bureau of Indian
                           Affairs.
                           There are 574 federally recognized American Indian and Alaska
                           Native tribes. Not all recognized tribes have a reservation—some have
                           more than one reservation, some share reservations, and others have
                           none.

                           The collective geographical area of all reservations is 56.2 million acres,
                           representing 2.3% of the United States’ 3.794 million square miles.5

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                Map of AI/AN Reservations, Federal Trust Lands,
                Tribal Statistical Areas (2020)


                   The following are the 10 largest Indian tribes: Navajo Nation (399,567),
                   Cherokee Nation (292,555), Choctaw Nation (255,677), Chippewa (214,026),
                   Sioux (207,684), Blackfeet (159,394), White Mountain Apache (15,791),
                   Muscogee Nation (108,368), Haudenosaunee Nations (114,568), Blackfeet
                   Nation (17,321).6
                   As of 2021, the largest Alaskan Native communities were the Yup’ik (33,900)
                   and Inupiat (33,400). Other large AN groups include the Tlingit-Haida
                   (26,100), Alaska Athabaskan (22,500), Aleut (19,300), and Tsimschian
                   (3,800).7

                   Approximately 22% of AI/AN populations live on tribal lands.8

             The 10 states with the largest percentage of AI/AN people in 2020 were:

                           Alaska (21.9%)

                           Oklahoma (16.0%)

                           New Mexico (12.4%)



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                           South Dakota (11.1%)

                           Montana (9.3%)
                           North Dakota (7.2%)

                           Arizona (6.3%)
                           Wyoming (4.8%)

                           Oregon (4.4%)

                           Washington (4.1%)9

             Socioeconomic characteristics
             AI/AN people rank at, or near the bottom of, nearly every social, health, and
             economic indicator.

             Income

                           Compared to all other race or ethnic populations, AI/AN populations
                           have the highest poverty rates <https://aspe.hhs.gov/topics/poverty-
                           economic-mobility/poverty-guidelines> (24.1%)—almost twice the national
                           rate (12.8%).10

                           In 2020, the median income of AI/AN (alone) households was $45,877
                           compared to $64,994 for the entire nation.11

                           In 2019, 18.7% of AI/AN adults age 65+ lived at the poverty level, which is
                           more than double the poverty rate for all older Americans (8.9%).12




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             Food security

                           Food insecurity has disproportionately affected AI/AN households,
                           especially during the COVID-19 pandemic. One study found that 56% of
                           AI/AN individuals across the country experienced food insecurity, with
                           31% reporting very low food security (the most severe level of food
                           hardship).13

             Employment

                           In 2019, the overall unemployment rate for AI/AN people was 6.1%,
                           compared to 3.7% nationwide.14
                           In 2016-2018, among all AI/AN people, those living in tribal areas had an
                           unemployment rate of 11.4%, compared to 6.6% for those who did not
                           live in tribal areas.15

             Education

             According to the Bureau of Indian Affairs, in 2019, 84.4% of AI/AN people (alone
             or in combination) had at least a high school diploma or equivalent.16

             Closely tied with education and literacy levels is health literacy
             <https://www.hrsa.gov/about/organization/bureaus/ohe/health-literacy> , which is
             the degree to which individuals have the ability to obtain, process, and
             understand basic health information and make appropriate decisions. Low
             health literacy is more common among older adults, minority populations,
             those who have low socioeconomic status, and medically underserved
             people.17 Therefore, given the socio-economic and educational disparities AI/AN
             people face, AI/AN elders likely have a greater propensity for health literacy
             issues.

             Housing



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             Housing problems for AI/AN households relate to the quantity, quality, and price
             of housing.

                           According to a study from 2017, 12% of homes in tribal areas had heating
                           deficiencies, 7% had kitchen deficiencies, and 6% had inadequate
                           plumbing. Nationwide, only 1-2% of homes suffer each of these
                           conditions.
                           Housing affordability is the most common problem for AI/AN
                           households. Approximately 38% of AI/AN households were cost-
                           burdened, meaning more than 30% of their income goes towards
                           paying for housing, compared to 36% nationally.

             Homelessness in tribal areas often leads to overcrowding (having more than
             one person per room).

                           In a study from 2017, approximately 42,000-85,000 people in Native
                           American communities stayed with friends or relatives because they
                           had no place of their own.

                           Among all AI/AN households in tribal areas, 16% are overcrowded,
                           compared to 2% of all US households.18

             Economic disparities among urban American Indians

             AI/AN migration to urban areas represents one of the most significant
             demographic shifts in U.S. history. In 1970, 38% of all AI/AN people lived in urban
             areas.19 In 2020, 87% of all AI/AN people identified in the Census lived outside of
             tribal statistical areas, with 60% living in metropolitan areas.8,16

                           The unemployment rate of urban American Indians is 11.2% compared
                           to 4.9% of non-Hispanic whites (NHW) in urban areas.

                           About 79.5% of urban American Indians had at least a high school


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                           diploma, compared to 94.5% of NHW in urban areas.

                           Nearly one-quarter (24.5%) of AI/AN individuals lived in poverty
                           compared to 8.9% of NHW individuals.

                           Long-term economic stability is also undermined by the fact that:
                                  Urban AI/AN indviduals are more likely to rent (54.7%) than own
                                  (45.3%) their housing unit.

                                  In contrast, among NHW, 33.8% rented, and 66.2% owned their
                                  housing unit.20

             Health disparities
             American Indians and Alaska Natives continue to die at higher rates than other
             Americans in many categories and have long experienced lower health status
             when compared with other Americans. Although disparities in health outcomes
             have been demonstrated over time among AI/AN communities, interpretation
             of these findings has been limited due to underreporting and misreporting.
             Lower life expectancy and the disproportionate disease burden are a result of
             inadequate education, disproportionate poverty, discrimination in the delivery
             of health services, and cultural differences. These are broad quality of life
             issues rooted in economic adversity and poor social conditions.21

                           Life expectancy at birth for American Indians/Alaska Natives in 2021 was
                           65.2 years, which is equal to the life expectancy of the total population in
                           1944. In comparison, for the total U.S. population in 2021, the projected
                           life expectancy at birth was 76.1 years.22
                           In 2018, the prevalence of heart disease among adults aged 18 and over
                           for AI/AN (alone) was 8.2% compared to 5.6% for NHWs.23
                           There was a 5.8% death rate linked to diabetes for AI/ANs compared
                           with 3.0% for the general population.24


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                           A study of death certificate data revealed that mental health and
                           substance use disorders continue to be a major cause of premature
                           deaths among AI/AN populations, mainly due to liver disease, suicides,
                           and injuries.25
                           According to a study by the National Resource Center on Native
                           American Aging, 79.1% of elders (aged 55+) surveyed reported 1-4
                           chronic illnesses. The most commonly reported illness was high blood
                           pressure (58.1%). 26

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